  Case 1:12-cv-00456-ZMF            Document 102        Filed 08/22/17      Page 1 of 104




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

JOHN N. XEREAS, individually, on                   )
behalf of himself, and derivatively,               )
as a Member and Shareholder in                     )
Penn Social, LLC, on behalf of Penn                )
Social, LLC f/k/a Riot Act DC, LLC                 )
                                                   ) Civil Action No. 1:12-cv-00456-RCL
       Plaintiff,                                  )
       v.                                          )
                                                   )
MARJORIE A. HEISS,                                 )
GEOFFREY O.S. DAWSON, and                          )
PENN SOCIAL, LLC f/k/a Riot Act                    )
DC, LLC,                                           )
                                                   )
       Defendants.                                 )
                                                   )

                           SECOND AMENDED COMPLAINT

        In his Amended Complaint in this action, Plaintiff John N. Xereas, individually

 (“Plaintiff” or “Plaintiff Xereas”) and derivatively on behalf of Penn Social, LLC f/k/a

 Riot Act DC, LLC (“Derivative Plaintiff”), by and through his undersigned attorneys,

 alleges as follows, based upon actual knowledge with respect to his own acts and upon

 information and belief with respect to all other matters.

                                     NATURE OF THE CASE

        1.      This is a civil action to remedy the actions taken by the Defendants to

 deprive Plaintiff and the Derivative Plaintiff of what was lawfully theirs. Specifically,

 the individual Defendants stole the Plaintiffs’ intellectual property and the other fruits of

 his efforts and engaged in acts of deception and misappropriation, all with the intention to

 illegally usurp what had been intended to be a cooperative business relationship. Simply

 put, Plaintiff, a well-known and well-respected manager and owner of comedy venues



                                               1
 Case 1:12-cv-00456-ZMF          Document 102       Filed 08/22/17     Page 2 of 104




and the creator of the Riot Act and similar trademarks, entered into a business venture

with the individual Defendants to open and operate a comedy theater under the Riot Act

name. But Defendants Dawson and Heiss had other designs. From the very beginning,

unbeknownst to Plaintiff, Defendant Dawson began to treat the comedy club as his

personal piggybank, supporting and subsidizing his other business ventures as well as his

son’s business and otherwise misappropriating the funds and commingling assets of the

Derivative Plaintiff. Defendant Heiss, a D.C. barred attorney, was complicit in the

scheme and assisted in the cover-up.

       2.     Defendants’ legal violations are numerous and include, inter alia, federal

infringement of an unregistered trademark and False Designation of Origin in violation of

Section 43(a) of the Lanham Act, 15 U.S.C. § 1051, et seq.; federal unfair competition

under Section 43(a) of the Lanham Act 15 U.S.C. § 1125(a); common law trademark

infringement and unfair competition; trover and conversion under D.C. common Law,

breach of contract and of the covenant of good faith and fair dealing under D.C. common

law and § 29–804.09 of the D.C. Code; breach of contract, fraudulent inducement under

D.C. common law; conspiracy to defraud under D.C. common law; fraudulent

representation or, in the alternative negligent misrepresentation under D.C. common law;

constructive fraud under D.C. common law, Unauthorized interception of electronic

communications under Subsection (1)(a) of the Electronic Communications Privacy Act

18 U.S.C. § 2511; Unauthorized disclosure of electronic communications under

subsection (1)(c) of the Electronic Communications Privacy Act 18 U.S.C. § 2511;

Unlawful access to stored communications under Subsection (a) of the Stored

Communications Act 18 U.S.C. § 2701; Misappropriation of trade secrets under D.C.



                                           2
 Case 1:12-cv-00456-ZMF            Document 102         Filed 08/22/17       Page 3 of 104




Uniform Trade Secrets Act - D.C. Code §§ 36-401 to 36-410; intentional interference

with business relations, opportunities, expectancy and prospective economic advantage;

unjust enrichment under D.C. common law; Cybersquatting under Section 43(d) of the

Lanham Act, 15 U.S.C. S § 1125(d); Intentional infliction of emotional distress under

D.C. Common Law; breach of the fiduciary duties of loyalty and care under § 29–804.09

of the DC Code and DC Common Law, or in the alternative, under D.C. Code § 29-1043

(2011); Action for Accounting under D.C. common law; Action for Quantum Meruit

under D.C. common law; Violation of § 29–804.10 of the D.C. Code, or in the

alternative, D.C. Code § 29-1022 (2011); Violation of RICO, 18 U.S.C. § 1962; and

Conspiracy to Commit certain named Counts pled herein.

                              JURISDICTION AND VENUE

         3.    Jurisdiction is predicated upon 15 U.S.C. § 1121 and 28 U.S.C. §§ 1331,

1338(a)-(b), and jurisdiction supplemental thereto.

         4.       Pursuant to 28 U.S.C. § 1367(a), this Court has supplemental

jurisdiction over the claims in this Complaint that arise under the common law of the

District of Columbia because the claims are so related to the federal claims that they form

part of the same case or controversy and derive from a common nucleus of operative

facts.

         5.    Defendants are each subject to this Court’s personal jurisdiction because

they reside in and/or operate and transact business in the District of Columbia, can be

found in this District, and have committed the acts complained of herein in this District.

         6.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)-(c) and §

1400(a) because Plaintiff is located in this District; Plaintiff’s claims arise in this District



                                               3
 Case 1:12-cv-00456-ZMF           Document 102         Filed 08/22/17      Page 4 of 104




because a substantial part of the events giving rise to the claims occurred in this District;

and Defendants are doing and have done business within this District.

                                     THE PARTIES

       7.      Plaintiff John N. Xereas is a resident of the District of Columbia with a

residential address at 3903 Davis Place, #101, Washington, D.C. 20007.

       8.      Plaintiff Xereas is a principal, member, and 26.67% shareholder of

Defendant (and Derivative Plaintiff) Penn Social, LLC.

       9.      Defendant (and Derivative Plaintiff) Penn Social, LLC (“LLC”), is a

limited liability company organized under the laws of the District of Columbia with an

address at 801 E Street, N.W., Washington, D.C. 20004. The LLC formerly conducted the

majority of its business under the name Riot Act DC, LLC, and, although Penn Social,

LLC, has filed the documents to change the name of the LLC from Riot Act DC, LLC, it

still conducts business today under the name Riot Act DC, LLC. The Riot Act name still

appears on various government licenses and certificates, which are displayed throughout

the establishment.

       10.     Defendant Marjorie A. Heiss is a resident of the District of Columbia with

a residence at 1359 28th Street, N.W., Washington, D.C. 20007. She is an attorney and

was at the time of the actions described herein a member of the District of Columbia Bar.

       11.     Defendant Heiss is a principal and member and was a 26.67% shareholder

of Defendant (and Derivative Plaintiff) Penn Social, LLC, at the time Plaintiff filed his

original Complaint in this case. She was a member-manager of Penn Social, LLC, since

the formation of the LLC and 25.67% of her shares were subsequently purchased by

Defendant Geoffrey O.S. Dawson on or about August 2012. Defendant Heiss is currently



                                             4
 Case 1:12-cv-00456-ZMF           Document 102        Filed 08/22/17    Page 5 of 104




a 1% shareholder of Defendant (and Derivative Plaintiff) Penn Social, LLC.

       12.      Defendant Dawson is a resident of the District of Columbia with an

address at 4905 Potomac Avenue, N.W., Washington, D.C. 20007.

       13.      Defendant Dawson is a principal, member, and 52.34% shareholder of

Defendant (and Derivative Plaintiff) Penn Social, LLC. He has been a member-manager

of Penn Social, LLC since the formation of the LLC.

                               STATEMENT OF FACTS

       14.      For at least the past 17 years, Plaintiff Xereas has managed comedy clubs

and otherwise been involved in the comedy business in and around the Washington

Metropolitan Area. His full-time occupation and principal source of income was his

employment in comedy clubs, booking comedy acts, and ownership of comedy clubs.

       15.      In the late 1990s, Plaintiff Xereas conceived of the name “RIOT ACT” as

a trademark for use in connection with his business as a comedy event organizer and

talent scout. He planned to use the name for his future comedy club, as the name of a

record label devoted to comedy acts, and as the name of a potential television show about

comedy clubs.

       16.      In March 2005, Plaintiff Xereas obtained a trademark search to determine

the availability of the RIOT ACT trademark for use in connection with comedy-related

services. Upon learning that the mark was available Plaintiff Xereas, on April 16, 2005,

registered the following domain names through Network Solutions: “riotactcomedy.com,”

“riotactentertainment.com,” “riotactcomedytheater.com,” and “riotactrecords.com.” He

also registered the domain name “hireacomic.net.” Those five domain names were

registered to Plaintiff Xereas, as sole owner, through April 16, 2015. Two additional



                                            5
 Case 1:12-cv-00456-ZMF           Document 102         Filed 08/22/17    Page 6 of 104




domain names, “riotactentertainment.com” and “riotactrecords.com,” were registered to

Plaintiff, as sole owner, on June 25, 2005, and remained his through June 25, 2015.

Plaintiff purchased many domain names related to the RIOT ACT business, but the seven

domain names cited specifically herein (collectively, the “RIOT ACT Domain Names”)

are the subject of this Second Amended Complaint.

        17.     Following registration of the RIOT ACT Domain Names, Plaintiff Xereas

established business and personal e-mail accounts at “riotactcomedy.com.” In particular,

Plaintiff     Xereas   commenced      doing       business   at   the    e-mail    address

“johnx@riotactcomedy.com.”            He      also     created    the   e-mail     address

“tedx@riotactcomedy.com” for his brother Ted Xereas, an event planner for RIOT ACT,

and “maria@riotactcomedy.com” for his mother Maria Xereas, an assistant for RIOT

ACT. The e-mail addresses johnx@riotactcomedy.com and tedx@riotactcomedy.com

have been in consistent use by Plaintiff and his brother for both business and personal use

since 2005. The e-mail address for Maria Xereas was established in 2007.

        18.     In September 2005, Plaintiff Xereas launched his business as a comedy and

entertainment booking agent, event planner, and producer under the name and mark RIOT

ACT ENTERTAINMENT and at the domain name “riotactcomedy.com.”                     Plaintiff

Xereas first registered “RIOT ACT Entertainment LLC” as a business entity in the

District of Columbia on September 6, 2005. Plaintiff utilized the “riotactcomedy.com”

website, inter alia, to announce shows for GW Lisner Auditorium on October 1, 2005,

with comedians Jeff Ross and Dan Nuturman; October 25, 2005, with comedians Judy

Gold and Wendy Liebman; and November 15, 2005, with comedian Bob Saget. RIOT

ACT ENTERTAINMENT also booked comics and entertainment for universities,



                                              6
 Case 1:12-cv-00456-ZMF           Document 102        Filed 08/22/17      Page 7 of 104




corporations, and local and national private functions, as well as launched and operated a

companion website at “hireacomic.net” to assist people in locating qualified, diverse

comedy entertainment for any function.

       19.     In addition to launching the RIOT ACT ENTERTAINMENT business,

Plaintiff Xereas also launched a record label under the name and mark RIOT ACT

RECORDS. Joel Hass, comedy director at XM radio, was retained in Fall 2005 by RIOT

ACT RECORDS as its producer for all comedy albums. The first talent signed to RIOT

ACT RECORDS was comedian and musician Doug Powell.

       20.     From 2005 through 2012, Plaintiff Xereas continued to do business under

various RIOT ACT trademarks and trade names, including, inter alia, “RIOT ACT,”

“RIOT ACT ENTERTAINMENT,” “RIOT ACT RECORDS,” “RIOT ACT COMEDY,”

and “RIOT ACT TV” (collectively, the “RIOT ACT Trademarks”), and the RIOT ACT

Domain Names.

       21.     In the years following the 2005 launch of RIOT ACT and RIOT ACT

ENTERTAINMENT, Plaintiff Xereas organized and produced more than 100 comedy

shows in the DC area, across the country and internationally, including shows at GW

Lisner Auditorium, The Lincoln Theater, 9:30 Club, and DAR Constitution Hall.

       22.     In February 2007, Plaintiff Xereas opened and operated a comedy club

under the name and trademark RIOT ACT COMEDY CLUB located at 1610 14th Street,

N.W., Washington, D.C., below the former location of HR-57, the renowned jazz club

(hereafter, “Riot Act Club #1”). Riot Act Club #1 received considerable and positive

media and public attention during its tenure, including being identified as one of the “Best

Bets” by The Washington Post, selected three times as “Pick of the Week” by the



                                             7
 Case 1:12-cv-00456-ZMF          Document 102       Filed 08/22/17     Page 8 of 104




Washington City Paper, and covered in articles in The Washington Post, The Washington

Times, Metro Weekly, and other local press.

       23.    Riot Act Club #1 ceased to operate in or around November 2007 due to

issues related to the size and capacity of the venue. Following closure of the Riot Act

Club #1, and throughout 2008, 2009, and 2010, Plaintiff Xereas and his family devoted

their time and resources to actively pursue his comedy booking and production business

under the RIOT ACT Trademarks and Domain Names, as well as his ultimate goal of

reopening a RIOT ACT comedy club at a larger and more significant venue.

       24.    After Riot Act Club #1 closed, Plaintiff Xereas developed a detailed

business plan and, together with restaurateur Constantine Stavropoulos, owner of The

Diner and Tryst in Adams Morgan and Open City in Woodley Park, pursued space for a

new club at 14th and T Streets in Northwest Washington, D.C.          The property was

ultimately sold to another entity and therefore was no longer available for Plaintiff

Xereas. Plaintiff nonetheless continued to pursue his goal of opening a new comedy club.

       25.    In July 2009, in anticipation of expanding his business and relaunching his

efforts to open a RIOT ACT comedy club in the Washington, D.C. area, Plaintiff Xereas

registered more than sixty (60) other RIOT ACT-formative domain names including, but

not limited to, “riotactcomedytheaters.com,” “riotactevents.com,” “riotactconcerts.com,”

“riotactdownloads.com,”           “rioactfanclub.com,”          “riotactfundraiser.com,”

“riotactmerchandise.com,”          “riotactgear.com,”         “riotactcomedyclub.com,”

“riotactdvds.com,” “riotactclothes.com,” “riotactcomedyclubs.com,” “riotactkids.com,”

“riotactshow.com,” “riotactmusic.com,” and “riotactcomics.com.” Each of those domain

names were registered to Plaintiff Xereas as sole owner, for the period of July 19, 2009



                                              8
 Case 1:12-cv-00456-ZMF           Document 102        Filed 08/22/17   Page 9 of 104




through July 19, 2011.

       26.     Since launching his businesses under the various RIOT ACT Trademarks

and Domain Names in 2005, Plaintiff Xereas has devoted significant resources, both

financial and personal, to establish the reputation of the RIOT ACT Trademarks, both

within and outside the comedy community, as a source of high -quality entertainment

services and civic responsibility. Through his RIOT ACT businesses, Plaintiff Xereas has

been actively involved in community and fundraising activities for various charitable

causes, including, but not limited to, Hands on DC, The Posse Foundation, Surfrider

Foundation, the YMCA, Boys & Girls Clubs of America, and Whitman-Walker Health.

Over the years since its inception, RIOT ACT ENTERTAINMENT has donated

numerous show tickets to private auctions that benefitted many worthy causes and

charitable organizations in the larger D.C. metropolitan area.

       27.     As a result of his longstanding efforts, and those of various family

members and friends associated with his businesses, the RIOT ACT Trademarks have

become well known and are favorably perceived in the community.

       28.     Plaintiff Xereas has acquired valuable common law rights in the RIOT

ACT Trademarks and Domain Names through longstanding use of them.

       29.     Plaintiff Xereas filed a trademark application for RIOT ACT with the

United States Patent and Trademark Office on or about January 13, 2012. On or about

September 25, 2012, Plaintiff Xereas became the sole registered owner of the RIOT ACT

trademark with a first-use date of September 2005.

                         DEFENDANTS DAWSON AND HEISS

       30.     In or about March 2010, and in connection with his efforts to expand his



                                             9
 Case 1:12-cv-00456-ZMF          Document 102        Filed 08/22/17     Page 10 of 104




business under the RIOT ACT Trademarks and establish a larger comedy venue in the

Washington, D.C. area, Plaintiff Xereas was introduced to Defendant Dawson by a real

estate agent. The agent was attempting to lease space at 505 9th Street, N.W.,

Washington, D.C. (which later became known as 801 E Street, N.W., Washington, DC) to

Defendant Dawson for a restaurant. However, an ordinary restaurant would not meet

then-existing zoning restrictions for the space which required an arts/theater venue. The

space, officially known as Square 0406, Lot 0026, was designated by the D.C. Office of

Planning to house a theater.

       31.     Defendant Dawson, a successful bar and restaurant owner who owns

approximately 23 establishments, had been interested in the subject lease space for over

two years because of significant rent abatement, tax credits, and other incentives that the

space offered due to the specialized zoning restriction (“Preferred Use Zoning”) and

prime location.    The establishments Dawson had experience running did not meet the

zoning criteria, and he did not have a business plan that would meet the Preferred Use

Zoning requirements or possess the knowledge of how to run an arts/theater venue.

Defendant Xereas had that requisite business plan and knowledge to run an arts/theater

venue, but lacked the capital that would be required to lease a 13,000-square-foot

commercial space. Accordingly, the real estate agent introduced Plaintiff to Defendant

Dawson.

       32.     During their initial meetings, Plaintiff Xereas informed Defendant Dawson

of his experience in the comedy field, his longstanding family business under the RIOT

ACT Trademarks, and of his interest in launching a new comedy club under the RIOT

ACT Trademark.      Defendant Dawson informed Plaintiff Xereas of his longstanding



                                            10
 Case 1:12-cv-00456-ZMF            Document 102       Filed 08/22/17     Page 11 of 104




expertise in the restaurant business and of the multiple local restaurants he owns (or

owned), designed, and operates as a partner in D.C.-based Bedrock Management

Company. Defendant Dawson expressed an interest in participating in the comedy club

business venture proposed to him by Plaintiff and agreed to contribute to it financially, to

operate a restaurant/bar within the comedy theater, and to solicit other investors to the

venture.

        33.     Initially, Plaintiff and Defendant Dawson intended to be equal partners.

        34.     Shortly after Plaintiff and Defendant Dawson verbally agreed to be equal

partners, Defendant Dawson introduced Plaintiff to Defendant Heiss as another potential

investor and business partner in the proposed comedy club and dinner theater venture (the

“Venture”). Defendant Heiss is a corporate and tax attorney and longstanding in-house

counsel for Mr. Dawson’s Bedrock Management Company,

        35.     Following various meetings, Plaintiff and Defendants Dawson and Heiss

decided to go into business together to launch a new comedy club at 801 E. Street, N.W.

(the “Venue”), under the name and trademark RIOT ACT COMEDY CLUB, pursuant to

a trademark license from Plaintiff Xereas. They also decided to utilize much of the

content of the business plan that Plaintiff prepared and used during his 2008 to 2009

efforts to lease another location for his club.

        36.     Plaintiff Xereas permitted use of his Trademarks by the Venture, relying

upon his ownership interest and role as General Manager to ensure quality control and

proper use of his RIOT ACT Trademarks and RIOT ACT Domain Names. From the

inception of their plans to go into business together, Plaintiff made clear, and Defendants

Dawson and Heiss were aware, that the RIOT ACT Trademarks and Domain Names were



                                              11
 Case 1:12-cv-00456-ZMF          Document 102        Filed 08/22/17      Page 12 of 104




owned, and were to be continually owned, solely and exclusively by Plaintiff. Indeed,

Plaintiff advised Defendant Dawson and Defendant Heiss that he would not enter into a

business relationship with them, or anyone else, unless Plaintiff remained the sole owner

of the RIOT ACT Trademark and Domain Names.

       37.     The question of who would have ownership of the RIOT ACT Trademark

and RIOT ACT Domain names was a material fact to Xereas as he considered whether to

enter into a business relationship with Heiss and Dawson.

       38.     Defendants convinced Plaintiff to contribute funds, labor, time, expertise,

and his extensive list of entertainment and personal contacts to the benefit of the LLC,

while later failing to pay Plaintiff adequate compensation for such contributions.

       39.     Heiss and Dawson falsely promised Plaintiff that they would not challenge

Plaintiff Xereas’s ownership of the RIOT ACT Trademark and Domain Names and that

Plaintiff would remain the sole owner of the RIOT ACT Trademark and Domain Names.

Defendants Heiss and Dawson made such statements with knowledge of their falsity.

Plaintiff reasonably relied on Defendants’ statements in deciding to enter into a business

relationship with them and contribute $100,000 in capital towards the LLC. Accordingly,

Defendant Dawson, Defendant Heiss, and Plaintiff entered into a verbal agreement on or

about March 2010 in Defendant Dawson’s office, located at 4830 V Street, N.W. in

Washington D.C., wherein the parties agreed that Plaintiff would continue to be the sole

owner of the RIOT ACT Trademark and Domain Names.

       40.     In April or May 2010, Plaintiff Xereas and Defendants Dawson and Heiss

agreed to memorialize their planned business relationship and to establish a corporate

entity to pursue their plans to open a new RIOT ACT COMEDY THEATER at 801 E.



                                            12
 Case 1:12-cv-00456-ZMF           Document 102         Filed 08/22/17        Page 13 of 104




Street, N.W., Washington, D.C. (hereafter, “Riot Act Club #2”). The parties agreed

verbally that Plaintiff Xereas would contribute his ability, expertise, talent, and experience

in comedy club management, comedy booking services, and comedy production services,

to the Venture; Dawson would contribute his ability, expertise, talent, and experience as a

restaurant designer, owner, and operator, and in finding investors and assisting, when

needed, in the Venture’s management; and Heiss would contribute her expertise as a

corporate and tax attorney to the Venture.

       41.     Defendant Heiss’s legal representation of the LLC created many conflicts

of interest, all of which Heiss should have disclosed to Plaintiff. Among Heiss’s conflicts

of interest are her representation of Defendant Dawson and/or Defendant Dawson’s other

businesses, her representation of the LLC while also being a member of the LLC, and her

adulterous sexual relationship with Dawson. At no time, however, did Defendant Heiss

advise Plaintiff to seek independent counsel due to conflicts of interest.

       42.     Upon information and belief, Defendant Heiss acted as an attorney and

legal counsel for the LLC from its inception.

       43.     Upon information and belief, Defendant Heiss had other business dealings

with Dawson prior to the formation of the LLC, and continued to have separate business

relationships with Dawson after the formation of the LLC.

       44.     During that period, Defendant Heiss, a licensed D.C. attorney, prepared the

necessary documents to pursue the parties’ Venture, including an Operating Agreement

and the Articles of Organization for a DC limited liability corporation, identified as Riot

Act DC, LLC. Heiss registered the LLC with the District of Columbia on May 6, 2010.

The Operating Agreement drafted by Heiss contained no conflict of interest provision and



                                             13
 Case 1:12-cv-00456-ZMF            Document 102        Filed 08/22/17     Page 14 of 104




no independent counsel provision, both of which are customary clauses in company

Operating Agreements.

        45.       Defendants Heiss and Dawson never disclosed the conflicts of interest that

arose from Defendant Heiss’s legal representation of the LLC to Plaintiff or to the other

Members of the LLC, nor did Plaintiff or any Members of the LLC sign any conflict of

interest waivers.

        46.       Also on May 6, 2010, Plaintiff Xereas, without benefit of independent

legal counsel, and Defendants Dawson and Heiss executed the Operating Agreement.

Among other things, the Operating Agreement provided for each of the three Managing

Members (Xereas, Dawson, and Heiss) to contribute the sum of $100,000 to the Venture

as an initial capital contribution. The Notice of Exempt Offering of Securities filed on

behalf of the LLC with the U.S. Securities and Exchange Commission and signed by

Heiss on January 6, 2011, asserts and estimates that $100,000 would be paid to each of

Plaintiff, Heiss, and Dawson out of the investment funds contributed by Class B Members

in consideration for “compensation for services devoted to starting up and establishing the

business.” Plaintiff never received this payment. If Heiss and Dawson received this

payment, it was never discussed or voted on by the Managing Members.

        47.       Because of Plaintiff’s involvement in the business, Defendants gained the

expertise necessary to operate a performing arts venue, as required under the Preferred

Use Zoning. Accordingly, the Defendants were able to become tenants in a 13,000 square

foot Preferred Use Zoning commercial space and derived financial benefits from this

classification.

        48.       On November 1, 2010, the parties entered into an Amended and Restated



                                              14
 Case 1:12-cv-00456-ZMF          Document 102        Filed 08/22/17     Page 15 of 104




Operating Agreement of Riot Act DC, LLC (“Amended Operating Agreement”), which

retained a number of fundamental terms from the original agreement, including the

identity of the Managing Members. A copy of one of the final mark-ups of that Amended

Operated Agreement is attached as Exhibit 1.

       49.     Both the Operating Agreement and the Amended Operating Agreement

contained no legal provisions regarding any transfer of ownership of the RIOT ACT

Trademark and RIOT ACT Domain Names nor did Defendant Heiss draft any separate

transfer or licensing documents regarding same.

       50.     Both the Operating Agreement and the Amended Operating Agreement

established two tiers of ownership in Riot Act DC, LLC. According to the agreements,

Class A members, comprised solely of the three Managing Members (i.e., Plaintiff Xereas

and Defendants Dawson and Heiss), were to be exclusively responsible for the operation

of the business of Riot Act DC, LLC. The Agreement also provided for Class B members

to hold an ownership interest in the LLC, but have no management role in its operation.

Both the original and Amended Operating Agreement provided that any management

decisions should be controlled and dictated by a two-thirds vote of the Class A Members.

       51.     Following the formation of the LLC, Plaintiff Xereas, together with

Defendants Dawson and Heiss, finalized the “Business Plan for Start Up Business Riot

Act Comedy Theater” (“RIOT ACT Business Plan”). The purpose of the RIOT ACT

Business Plan was to lay out the responsibility and expectations of the three Managing

Members, as well as to solicit investment in the business by third parties (namely, Class B

members). The RIOT ACT Business Plan was used as a principal selling tool to solicit

Class B Members and, ultimately, the LLC raised approximately $2.3 million dollars from



                                            15
 Case 1:12-cv-00456-ZMF           Document 102       Filed 08/22/17     Page 16 of 104




Class B investors. A true and correct copy of the RIOT ACT Business Plan is attached as

Exhibit 2. The portions of the RIOT ACT Business Plan pertaining to the comedy club

(as contrasted with the restaurant) were copied from Plaintiff Xereas’s earlier (2008-2009)

business plans.

       52.        The RIOT ACT Business Plan as prepared by Plaintiff Xereas and

Defendants Dawson and Heiss, reflected Plaintiff’s understanding of the terms of his

contractual relationship with Dawson, and Heiss. In particular, the RIOT ACT Business

Plan recognized and detailed Plaintiff Xereas’s longstanding rights in, and use of, the

RIOT ACT Trademarks in connection with comedy services. Significantly, the RIOT

ACT Business Plan provided for Plaintiff Xereas’s contribution to the business of his

expertise and experience in the comedy club field, but did not provide for the assignment

or any ownership transfer of the RIOT ACT Trademarks and Domain Names from

Plaintiff Xereas to the LLC or anyone else.

       53.        The RIOT ACT Business Plan expressly recognized and stated that “the

appeal and success of the Riot Act Comedy Theater would lie first and foremost in the

ability, expertise, talent, and vast experience of John Xereas.” The RIOT ACT Business

Plan specified that Plaintiff Xereas would act as Riot Act Club #2’s General Manager, be

responsible for entertainment bookings, and contribute his customer list of approximately

12,000 e-mail addresses and contact details to the Venture. The RIOT ACT Business Plan

further specified that the LLC’s website would be launched at Plaintiff’s longstanding

“riotactcomedy.com” domain name; Riot Act Club #2 would sell a range of collateral

merchandise featuring the various RIOT ACT Trademarks; Riot Act Club #2 would sell

CDs and DVDs produced by Plaintiff’s business RIOT ACT RECORDS; and Riot Act



                                              16
 Case 1:12-cv-00456-ZMF          Document 102        Filed 08/22/17      Page 17 of 104




Club #2 would benefit from revenue earned through Plaintiff Xereas’s longstanding

“hireacomic.com” website. All parties expected that third parties would view and rely

upon the representations in the RIOT ACT Business Plan when determining whether or

not to invest in the LLC.

       54.     On or about December 30, 2010, the LLC signed a lease for space for Riot

Act Club #2 at 505 9th Street, N.W., Washington, D.C. (later known as 801 E. Street,

N.W., Washington, D.C.). The Lease for the property specifically stated that the premises

could only be used for a comedy club, a venture that would not have been possible for the

Defendants to undertake without Plaintiff.

       55.     Over the course of the next several months, Defendant Dawson took the

lead in the planning, supervision, reconstruction, and buildout of the future club space.

Defendant Dawson hired Geoff McNabola to act as general contractor for the buildout and

was solely responsible for the finances related to that buildout. Despite multiple requests,

Plaintiff Xereas was never provided access to the financial documents related to the

buildout and still has not been provided with these documents as of the date of the filing

of this Second Amended Complaint.

       56.     In or around January 2011, the LLC hired Squiid, Inc. (“Squiid”), a

website design company, to create a new and improved website for Riot Act Club #2 at

Plaintiff Xereas’s longstanding domain “riotactcomedy.com.” In connection with that

project, Plaintiff Xereas provided all registration, password, and other information

associated with his “riotactcomedy.com” domain name and other RIOT ACT Domain

Names to Squiid for use in developing the club website. Squiid was offered full access to

RIOT ACT Domain Names and websites, and to Plaintiff Xereas’s e-mail account at



                                             17
 Case 1:12-cv-00456-ZMF         Document 102        Filed 08/22/17     Page 18 of 104




johnx@riotactcomedy.com, solely in connection with its web development activities.

Defendants and Squiid were expressly informed by Plaintiff that ownership of the RIOT

ACT Domain Names should be retained by Plaintiff and that no changes to domain name

ownership records should be made.

       57.    With the input and approval of Plaintiff Xereas, Defendants also developed

a new RIOT ACT CLUB logo for use on the club website and in connection with the

operations and promotion of Riot Act Club #2.

       58.    In the time period leading up to the formal opening of Riot Act Club #2 in

August 2011, Plaintiff Xereas and Defendant Dawson repeatedly discussed their mutual

understanding that ownership of the RIOT ACT Trademarks and RIOT ACT Domain

Names would remain exclusively with Plaintiff Xereas.         It was Plaintiff Xereas’s

understanding, confirmed in multiple conversations with Defendant Dawson, that Plaintiff

should pursue federal registration for the RIOT ACT Trademarks in his name, that

Plaintiff would continue to retain full ownership of the RIOT ACT Trademarks and RIOT

ACT Domain Names, and that, once it became profitable, Riot Act Club #2 would pay

Plaintiff a trademark licensing fee for its use of the RIOT ACT Tradename, marks, and

associated Domain Names.

       59.    On or about late May 2011, Plaintiff and Defendant Dawson were walking

on D Street in Northwest Washington, D.C. The two spoke about their prior agreement

and their mutual understanding that Plaintiff was to continue being the sole owner of the

RIOT ACT Trademark and RIOT ACT Domain Names. The question of who would have

ownership of the RIOT ACT Trademark and RIOT ACT Domain names was a material

fact to Xereas as he considered whether to continue his business relationship with Heiss



                                           18
 Case 1:12-cv-00456-ZMF          Document 102         Filed 08/22/17   Page 19 of 104




and Dawson. Defendant Dawson confirmed the agreement to Xereas at this time, and

thereby falsely promised Plaintiff that he would not pursue or dispute ownership of

Plaintiff’s RIOT ACT Trademark and RIOT ACT Domain Names. Dawson made such

statements with knowledge of their falsity. Plaintiff reasonably relied on Defendants’

statements in deciding to continue his business relationship with Defendants and

contribute $100,000 in capital towards the LLC. Dawson further stated that Plaintiff

should talk to his attorney to take the proper steps to register the RIOT ACT Trademark in

Plaintiff’s name and that the LLC would pay to license the name from Plaintiff when the

LLC was making money and could afford the licensing fee.

       60.     On or about May 29, 2011, Plaintiff sent Defendant Dawson an e-mail

expressing concerns about Defendant Heiss and requesting that the parties memorialize in

writing the agreement and understanding regarding Plaintiff’s sole ownership of the RIOT

ACT Trademark. Plaintiff requested that the verbal agreement regarding the RIOT ACT

Trademark be memorialized in writing on several occasions thereafter, but Defendant

Heiss, the LLC’s counsel, never drafted a contract.

       61.     In September 2011, in accordance with his financial obligations under the

Amended Operating Agreement, Plaintiff Xereas contributed the first of two $50,000

investment payments to the LLC.

       62.     On August 9, 2011, Defendant Heiss registered the trade name RIOT ACT

COMEDY THEATER with the District of Columbia.

       63.     Riot Act Club #2 opened to the public on August 11, 2011.

       64.     On or about August 24, 2011, Plaintiff, at the urging of Defendant

Dawson, authorized Plaintiff’s independent legal counsel Jay Rosenthal to order



                                           19
 Case 1:12-cv-00456-ZMF           Document 102       Filed 08/22/17     Page 20 of 104




trademark searches through Thompson Compumark in anticipation of registering the

RIOT ACT Trademark in Plaintiff’s name pursuant to the agreement entered into by the

parties.

           65.   On or about August 29, 2011, in advance of taking action to federally

register the RIOT ACT Trademarks, Plaintiff Xereas arranged for a follow-up trademark

availability search to be conducted to confirm the continued availability for use and

registration of the RIOT ACT Trademarks for comedy services in the U.S. The search

results confirmed Plaintiff Xereas’s exclusive ownership of the various Riot Act Domain

Names. Defendant Dawson encouraged Plaintiff to register the RIOT ACT trademark in

his name, as was previously agreed to, as Defendant Dawson was concerned about other

parties using the trademark.

           66.   Consistent with the parties’ understanding, Plaintiff Xereas filed U.S.

Trademark Application No. 76710275 for the mark RIOT ACT covering “comedy

production in bars, restaurants, and other theatrical venues” on January 13, 2012, claiming

a date of first use of September 2005 (the “Application”). The Application was approved

and, on September 25, 2012, Plaintiff received confirmation from the United States Patent

and Trademark Office that he is the sole registered owner of the RIOT ACT trademark

with a first use date of September 2005.

           67.   In the months following the December 2010 signing of the lease for Riot

Act Club #2, Plaintiff Xereas devoted his full time, resources, contacts, and considerable

talents towards the establishment of a new state-of-the-art comedy club. His activities

during this time period included working closely with employees of Squiid to build a new

“riotactcomedy.com” website, including consulting on the site’s design, layout,



                                            20
 Case 1:12-cv-00456-ZMF           Document 102         Filed 08/22/17      Page 21 of 104




functionalities, and content; establishing a presence for the club in social media, including

a Facebook page and Twitter account, and commencing electronic communications via

those accounts; reaching out to talent managers, agents, comics, and other contacts in the

comedy and entertainment industry to notify them of the new Venture; booking talent for

future shows; establishing club policies and procedures; developing club marketing and

advertising plans; developing a weekly club schedule of events and activities; co-

developing with Squiid a new ticket reservations system; hiring and managing

employees; making hotel and ground transportation arrangements for talent; responding

to all e-mails directed to the “info@riotactcomedy.com” e-mail address; and many other

aspects of club operations. Plaintiff Xereas provided these services to the LLC in his role

as a co-owner of the LLC and General Manager of Riot Act Club #2, and in anticipation

of future earnings from club operations.

       68.     Following the club’s formal opening, and in his role as Owner/Operator,

Plaintiff Xereas assumed responsibility for most operational aspects of the business

including, but not limited to, the various responsibilities detailed above. Plaintiff Xereas

also took on responsibility for club staffing, acted as club host and, when needed, as

bartender, waiter, sound supervisor, lighting supervisor, public relations manager, and

more. Consistent with his reputation in the industry, Plaintiff worked tirelessly to ensure

the commercial and financial success of Riot Act Club #2 and, correspondingly, the LLC.

       69.     On or about January 3, 2013, the LLC changed its name from Riot Act DC,

LLC, to Penn Social, LLC.

                         DEFENDANTS’ WRONGFUL ACTS

       70.     Defendant     Dawson     made      fraudulent,   intentional,   and   reckless



                                             21
 Case 1:12-cv-00456-ZMF           Document 102       Filed 08/22/17       Page 22 of 104




misrepresentations to Plaintiff to fraudulently induce Plaintiff to go into business with

Defendants, thereby enabling Defendant Dawson to be an owner of a company that meets

the Preferred Use Zoning restrictions of the 13,000-square-foot space he had been eyeing

for two years.

       71.       As part of Defendants’ plan, Dawson conspired with Defendant Heiss,

someone to whom he was very close both professionally and personally, and brought

Heiss on as a co-owner and attorney for the LLC, thus ensuring that Dawson and Heiss

would have the majority of the votes over Plaintiff and could effectuate a freeze out of

Plaintiff at a later date. Defendants’ plotted to use Xereas’s reputation, intellectual

property, industry contacts, and business plan to acquire investment money for a new

business, become a tenant in a specially zoned theater/arts venue – for dramatically

reduced rent – and ultimately illegally force Xereas out of the endeavor. By leasing

property with a special zoning restriction, Defendants were able to save approximately

$43 per square foot, or approximately $559,000 per year, as compared to other similarly

situated commercial properties without such zoning restrictions.

       72.       To sabotage Plaintiff and bolster their future argument for his removal,

Defendants intentionally took actions to negatively affect Plaintiff’s ability to manage the

LLC and intentionally failed to take actions that would assist the LLC.

       73.       Once Defendants implemented their plan and effectuated the improper

freeze out of Plaintiff, Defendants retained legal counsel to attempt to challenge

Plaintiff’s ownership of the RIOT ACT Trademarks and Domain Names.                    After

Defendants attempts to steal Plaintiff’s intellectual property failed, Defendants rebranded

the LLC as Penn Social, LLC, a bar that no longer meets the Preferred Use Zoning



                                            22
 Case 1:12-cv-00456-ZMF           Document 102      Filed 08/22/17       Page 23 of 104




requirement.   Then, in or about July 2012, in completion of Dawson and Heiss’s

fraudulent scheme, Dawson then purchased all but one percent (1%) of Heiss’s shares of

the LLC so that he had a majority ownership interest (52.4%); this ensured his future

control of the LLC in a commercial location where it could not have operated but for

Plaintiff’s involvement and Defendant’s nefarious plan.         On information and belief,

Dawson acquired Heiss’s interests at a grossly undervalued price.

       74.     As a result of Defendant Heiss’s participation, Defendant Dawson and

Defendant Heiss ensured that they would always be the voting majority and, as such, they

conspired and made decisions to force Plaintiff out of the business once they were

operating the Venue and had secured Plaintiff’s contribution, industry contacts, social

media accounts and learned from Plaintiff how to run a comedy club. Defendants took

complete control of the finances from the outset. They excluded Plaintiff from managers’

meetings, which were often held at one of Dawson’s other businesses.

       75.     Defendants actions violate Section 10.4 (paragraph 157) of the Second

Amended Operating Agreement signed by the parties, willfully render imperfect

performance, and interfere with Plaintiff’s performance under the Operating Agreement.

       76.     The Offering Memorandum that was used to secure investment funds for

the LLC highlights Defendant Dawson’s success in creating unique bars and restaurants

and states that food and beverage sales would be an important revenue generator in

addition to the comedy theater.    Despite this representation and Dawson’s other legal

duties, Defendant Dawson intentionally held back his resources and limited his

involvement in an effort to undermine and sabotage Plaintiff.

       77.     The Offering Memorandum also states that the LLC intends to extensively



                                           23
 Case 1:12-cv-00456-ZMF         Document 102        Filed 08/22/17     Page 24 of 104




cross market with Defendant Dawson’s other 14 bars in the area and that the LLC would

use its extensive media contacts for the benefit of the LLC. . Despite this representation

and Dawson’s other legal duties, Defendant Dawson intentionally held back his resources

and limited his involvement in an effort to undermine and sabotage Plaintiff.

Notwithstanding the asserted importance of cross promotion, Defendant Dawson never

put any fliers or cross-promoted the LLC in his other bars; after removing Plaintiff, he

started extensive cross promotion, including bar crawls in participation with his other

establishments. Also, Dawson never used social media but started using it after Plaintiff

was improperly removed. Further, he never introduced Plaintiff to any of his media

contacts or used those contacts to promote Riot Act Club #2, but started doing so after

Plaintiff was improperly removed. For example, Connie Poole handled public relations

for Dawson and his other establishments and was also editor of a magazine that features

venues similar to Riot Act Club #2. Connie Poole was never introduced to Plaintiff or

used to promote the Venue while Plaintiff was a Managing Member, but after he was

removed Dawson started utilizing her services and industry contacts.        Finally, after

Plaintiff was improperly removed, Defendant Dawson brought in all his promotional

partnerships for the benefit of the LLC (e.g. District Entertainment, District Games,

District Karaoke, District Trivia, MD Beer Pong, United Beltway Sports, United Social

Sports, etc.), but held these back when Plaintiff was still managing the LLC. These

promo partners/leagues were brought in by Defendants in February 2012, just weeks after

Plaintiff was improperly removed, to generate additional revenue.          One of these

companies, US Sports actually announced on Twitter as early as November 2011 that it

was “coming in February” and announced its new headquarters at the LLC’s place of



                                           24
 Case 1:12-cv-00456-ZMF           Document 102        Filed 08/22/17      Page 25 of 104




business despite Plaintiff not being aware of any lease agreement, sublease agreement or

any payment from US Sports to the LLC.

         78.   Many ideas and concepts offered by Plaintiff were also “shelved” by

Defendants while Plaintiff was a managing member, but as soon as Plaintiff was removed

these ideas were implemented. For example, Plaintiff wanted to use the theater screen to

televise events such as the World Cup in the afternoons and on days when the club did

not host comedy events and asked that they purchase a Direct TV/Sports package.

Dawson refused, but as soon as Plaintiff was removed, Defendants purchased the package

and advertised “College Hoops” in March 2012. In addition, Defendants limited the

Venue’s beer selections to just a few beers, but, after Plaintiff was improperly removed,

the LLC expanded its offering to approximately 30 beers. While Plaintiff was involved

in the LLC, there were only five menu options (chosen by a general manager hired by

Defendants without Plaintiff’s knowledge or input), which resulted in abysmal food sales.

However, after Plaintiff was improperly removed, a consultant was brought in by

Defendants and the menu was revamped. Similarly, while Plaintiff was handling day-to-

day operations, there was little decor and little furniture at the venue. After he was

improperly removed, Defendants bought furniture, hung up paintings, and decorated the

walls.

         79.   In or about May 2011, prior to Riot Act Club #2 even opening its doors,

Defendants hired Matthew Morinello as General Manager. Morinello had no experience

running a comedy club and often admitted, “I have no idea what I’m doing.” Defendants

hired Morinello without consulting with Plaintiff, despite this being Plaintiff’s initial job

title. Plaintiff insisted that another general manager was not needed and funds were



                                             25
 Case 1:12-cv-00456-ZMF          Document 102       Filed 08/22/17      Page 26 of 104




allegedly sparse at the time. Plaintiff received multiple complaints about Morinello’s

behavior from staff and customers, including a letter from a White House aide. With

apparent authority from Defendants, and over Plaintiff’s objections, Morinello made

several business decisions that were detrimental to the LLC, including menu and drink

selections that were inappropriate for a comedy venue. He also stopped Internet sales of

event tickets that prevented potential customers from purchasing last minute tickets and

which had the effect of forcing potential customers to come to the venue to buy tickets at

the doors but sometimes finding out that the event was sold out. Such actions had the

effect of decreasing the value of the business and the RIOT ACT Trademarks and were

not consistent with standard industry practice.

        80.    On August 11, 2011, the LLC’s opening night, Dawn Henderson, the

LLC’s social media manager, had a conversation with an intoxicated Nathaniel Adams,

who identified himself as a friend of Matthew Morinello. Adams told Henderson that

Plaintiff would not be around for long and that Morinello was there to replace him.

Approximately one month later, the Defendants hired Adams as the LLC’s Assistant

General Manager, again without consulting Plaintiff.

        81.    Plaintiff advised Defendant Dawson of the serious harm that Morinello

was doing to the LLC, but Dawson resisted and refused to take corrective action. After

repeated complaints from Plaintiff, Dawson acceded to the removal of Morinello and

Adams. After Morinello and Adams were removed and Plaintiff was able to exert more

control over the day-to-day operations of the LLC, losses subsided. In the month

following Morinello and Adam’s termination, the LLC mades a sizeable profit for the first

time.



                                            26
 Case 1:12-cv-00456-ZMF          Document 102        Filed 08/22/17     Page 27 of 104




       82.     Defendants insisted that the General Manager and Assistant General

Manager, along with their other hires, be paid fairly large salaries ($50K-$65K) while

Plaintiff – the “key man” and face of the LLC – received only a nominal sum, despite

Plaintiff working many 20-hour days and often sleeping at the comedy club. Another

manager, who was hired from one of Defendant Dawson’s other clubs, was paid an

annual salary of $65,000, although he was very rarely at the Venue. Plaintiff repeatedly

told Defendants that these individuals were not needed and the expense of their inflated

salaries was unjustified and wasteful. Additional employees were given employment

contracts without Plaintiff’s knowledge and despite Plaintiff being told there was no

money to pay him. When Plaintiff asked Defendants about employment contracts, he

was told that the business did not give out employment contracts.

       83.     On information and belief, Defendants employed individuals who were

also investors in and Members of the LLC as a way to provide a return on those persons’

investments, but at a time when the LLC did not have adequate funds and as a way to

deny funds to Plaintiff.

       84.     Defendants Dawson and Heiss hired their friends and family who had no

experience in comedy, including, for example, Dawson’s son Zack. On information and

belief, Zack Dawson received a paycheck from the LLC during time periods for which he

was not working at the place of business and was in different states.

       85.     On information and belief, Defendants hiring of such employees were

conducted as part of a scheme to have the LLC fund Dawson’s other businesses, to

otherwise deprive the LLC and Plaintiff of funds, and to otherwise benefit Defendants.

       86.     In September 2011, as a result of interactions between the parties and



                                            27
 Case 1:12-cv-00456-ZMF          Document 102        Filed 08/22/17     Page 28 of 104




comments from club employees, Plaintiff began to suspect that Defendants Dawson and

Heiss were trying to push him out of the business.

       87.     On or about October 2, 2011, Defendants Dawson and Heiss presented

Plaintiff with a draft Second Amended Operating Agreement. The Second Amended

Operating Agreement, a copy of which is attached as Exhibit 2, sought to significantly

reduce Plaintiff’s ownership percentage in the LLC, downgrade his investment status

from a Class A Managing Member to a Class B investor with no management

responsibilities or rights, remove his voting rights, and allow for his termination as

General Manager without compensation either for his work to date or for his ownership

contribution. Defendant Heiss sent Plaintiff an e-mail, to which Defendant Dawson was

copied, wherein she threatened Plaintiff and attempted to coerce him to sign the Second

Amended Operating Agreement, telling Plaintiff that he would be terminated if he did not

sign the Operating Agreement. Defendant Dawson and Defendant Heiss also texted

Plaintiff with messages telling him to sign the agreement or he would be fired the next

day.   Notwithstanding, Plaintiff refused to sign the Second Amended Operating

Agreement and, less than two months after the Venue opened its doors, was forced to

retain an employment attorney to assert his legal rights and to seek compensation.

       88.     Following the confrontation with Defendants Dawson and Heiss over the

Second Amended Operating Agreement, Plaintiff Xereas again addressed the issue of his

exclusive ownership of the RIOT ACT Trademarks and RIOT ACT Domain Names with

Dawson. In an October 1, 2011 e-mail to Defendant Dawson, Plaintiff repeated the

parties’ earlier conversations regarding the need to revise the Amended Operating

Agreement to specifically address Plaintiff’s ongoing ownership of the RIOT ACT



                                            28
 Case 1:12-cv-00456-ZMF             Document 102     Filed 08/22/17     Page 29 of 104




Trademarks and clarify the terms of the license pursuant to which the LLC was permitted

to continue to use the RIOT ACT Trademarks.

       89.     Following repeated verbal assurances from both Defendants Dawson and

Heiss regarding their continued interest in the Venture and, in particular, in working

together with Plaintiff Xereas to ensure the club’s success, Plaintiff continued throughout

the months of October, November, and December 2011 to devote his full time and

resources to the ongoing operations and success of the club. In November 2011, Plaintiff

Xereas paid his remaining $50,000 contribution into the LLC.

       90.     In October 2011, Defendants hired a new General Manager, Peter Bayne,

again without consulting with Plaintiff. Bayne was Defendant Dawson’s friend and

General Manager of one of Dawson’s other establishments. Defendant Dawson admitted

to Plaintiff that Bayne was not competent for the position. Bayne had no experience in

comedy, entertainment, or any ticket-driven business. On several occasions, Mr. Bayne

became intoxicated during work hours and “comped” large checks for big groups of his

friends who would frequent the Venue, to the detriment of the Company’s finances and

reputation. Bayne was also but paid a full-time salary through the LLC despite rarely

being at the Venue. After Plaintiff was improperly removed, Bayne intercepted, read and

impersonated Plaintiff when responding to e-mails addressed to Plaintiff.

       91.     Throughout the Fall of 2011, Plaintiff Xereas’s relationship with

Defendants Dawson and Heiss continued to deteriorate, due in large part to Defendants

Heiss and Dawson’s poor management decisions, the pair’s inappropriate behavior, and

their desire to remove Plaintiff.

       92.     Heiss made numerous decisions that negatively impacted the LLC,



                                            29
 Case 1:12-cv-00456-ZMF          Document 102        Filed 08/22/17     Page 30 of 104




financially and otherwise. For example, Defendant Heiss fired the LLC’s public relations

company and hired Bulldog Public Relations at twice the cost, simply because she was

upset that the first company did not include her name in a press release. In addition,

Defendant Heiss paid $10,000-$15,000 for a designer and posters, but neglected to put

the LLC’s phone number and social media information on the posters. She also failed to

sign a contract to pay Squiid a flat annual fee, despite a unanimous vote of the managing

members, thereby resulting in the LLC having to pay Squiid more than double the flat

fee; this action alone resulted in a loss to the LLC of at least $35,000. She also made

wasteful purchases, such as hiring a photographer to take photos that the LLC never used.

       93.     Defendant Heiss had represented to the parties that she would handle

employee-related grievances and issues, but she did not handle these responsibilities

properly, responsibly, or legally. She neglected to draft employee manuals, and no

written procedures or training information were given to employees. Additionally, she

created no policies for the hiring, firing, or promotion of employees; no personnel files

were kept; and no policies were established regarding e-mail accounts, privacy, or use of

company computers.

       94.     Defendant Heiss brought men with whom she was having adulterous

affairs to the Venue and behaved with them in a sexually inappropriate manner.

Defendant Heiss would also inappropriately touch and interact with staff and comics.

She regularly asked individuals to feel her breasts to “prove they are real” and lifted her

shirt to show employees and comics, including Paul Mooney, her breasts. At one point, a

comic’s wife became upset and embarrassed by Defendant Heiss’s inappropriate physical

actions with her husband. Heiss also had an extra-marital affair with a well-known



                                            30
 Case 1:12-cv-00456-ZMF         Document 102        Filed 08/22/17      Page 31 of 104




comedian.

       95.     Defendant Heiss would often speak in an obscene manner, including

calling Plaintiff’s mother Maria an obscene and derogatory term and suggesting that

Plaintiff’s brother Ted perform an obscenity on their mother. Defendant Heiss frequently

discussed her aptitude at performing oral sex and how performing oral sex resulted in her

always getting her way. In one particularly vulgar instance, Defendant Heiss approached

Eddie Griffin, a well-known comic and actor in the green room, and in the presence of

the Assistant Deputy Mayor Sedrick Muhammed, told the comic that “I’ll blow you if

you do another show here.” Defendant Heiss had to be physically removed from the

green room.

       96.     As a result of Defendant Heiss’s inappropriate and harmful acts,

Defendant Heiss created an uncomfortable environment that affected morale, the LLC’s

reputation, and revenue. Concerned about the behavior of Defendant Heiss, Plaintiff, on

multiple occasions, spoke with and e-mailed Defendant Dawson, regarding the problems

caused by Defendant Heiss and the adverse effects she was having on the business.

Dawson refused to take any action against Heiss and, in January 2012, he named her

Director of Operations. This decision was not in the best interest of the LLC, but it was

in Defendant Dawson’s personal interest. Defendant Heiss told Plaintiff that she had

information she could use against Defendant Dawson, including their adulterous sexual

relationship, as well as other business improprieties and inappropriate actions. Defendant

Heiss told Plaintiff that she had information on Defendant Dawson, that she “could bring

him down whenever I want” and that Defendant Dawson felt “emasculated” by

Defendant Heiss. Defendant Heiss also stated that Defendant Dawson owed her money.



                                           31
 Case 1:12-cv-00456-ZMF          Document 102        Filed 08/22/17      Page 32 of 104




       97.     Defendant Heiss’s inappropriate behavior eventually led to a sexual

harassment charge being filed against her as part of an EEOC claim.

       98.     Assault charges were filed against Defendant Dawson by a former

employee.

       99.     In or about the Summer of 2010, Defendants agreed that Plaintiff would

be compensated $72,000 per year for his role as General Manager, and this was provided

for in the LLC’s Business Plan. Defendants later informed Plaintiff that he would begin

receiving these guaranteed payments in January 2011.        Defendants later told Plaintiff

that his guaranteed payments would be deferred until such time as the LLC was in a

better financial position, at which time he would be paid for past unpaid time.

       100.    On or about April 2011, Plaintiff advised Defendants that he could no

longer defer his compensation and, as such, Plaintiff was paid $6,000 a month for the

months of May through July 2011. This $18,000 was never reported to the IRS by

Defendants until Plaintiff challenged the issue with the IRS. On or about August 2011,

Plaintiff stopped receiving his compensation because there was little operating capital as

all money raised was allegedly spent on the buildout. The money raised from Class B

members was intended to pay for the buildout as well as operating expenses, but

Defendants mismanaged and misappropriated investment funds, leaving Plaintiff no

operating capital to run the business to its maximum potential, thereby diminishing LLC

revenue.

       101.    Upon information and belief, Defendants caused company funds to be

used for personal expenses and to subsidize Defendants’ other business ventures.

       102.    On or about November 2011, Plaintiff Xereas met with Defendants



                                            32
 Case 1:12-cv-00456-ZMF         Document 102        Filed 08/22/17      Page 33 of 104




Dawson and Heiss to request that the parties prepare and sign paperwork regarding

Plaintiff Xereas’s compensation as the General Manager of the LLC going forward and

for him to receive compensation for his efforts over the prior two-year period. Although

they refused to enter into any written agreement with Plaintiff, Dawson and Heiss agreed

to compensate Plaintiff effective December 2011, at an annual compensation of $42,000 –

an amount much lower than that previously agreed upon. This “salary” was significantly

lower than existing salaries paid by Defendants Dawson and Heiss to other members of

the club’s management staff. To date, Plaintiff has received approximately $26,000 for

two years of hard work and dedication.

       103.    As time passed, Defendants Dawson and Heiss aggressively increased

their machinations to force Plaintiff out of the business. The Defendants conspired to

create a hostile work environment, refused to include Plaintiff in company decisions,

refused to provide Plaintiff with any financial accounting or access to financial records,

and placed undue stress on him and other employees loyal to him. Defendant Dawson

instructed managers to be callous to staff and to set as many rules and regulations as

possible so that Plaintiff and “his people” would leave. To further contribute to this

hostile work environment, Defendants tolerated racist comments. A manager of the LLC,

Vincent Coletti, sent a racist e-mail to staff stating “Happy MLK day my Afro Darkie”

and regularly called African-American employees “Darkies,” resulting in three EEOC

complaints being filed. Despite Plaintiff expressing his concern about the e-mail and

possible repercussions to the LLC, to Plaintiff’s knowledge, Dawson and Heiss never

reprimanded or disciplined Coletti. In addition, Defendant Heiss herself made racist

comments.



                                           33
 Case 1:12-cv-00456-ZMF            Document 102          Filed 08/22/17    Page 34 of 104




       104.      On or about January 17, 2012, without provocation or warning – and

despite January being on pace to be the LLC’s most successful month yet – Defendants

Dawson and Heiss terminated the employment of Plaintiff Xereas’s brother Ted and

Plaintiff Xereas’s friend Mike Farfel. Ted had been a booker and event planner for the

club who had been employed by Riot Act since 2005, while Mike Farfel assisted Plaintiff

in the day-to-day operations of the club. Both Ted Xereas and Mike Farfel were excellent

and valuable employees and were eventually replaced with friends of the Defendants,

who had no experience running a comedy theater.

       105.      On that same date and during that same meeting, Defendants Dawson and

Heiss also fired Maria Xereas, Plaintiff’s mother, who had assisted Plaintiff Xereas in

various aspects of club business without being compensated.

       106.      In order to deny unemployment benefits to Ted Xereas, Defendants filed a

false report to Unemployment Compensation claiming he was fired due to misconduct.

After Ted Xereas filed an appeal, Defendants did not pursue their bogus claim.

       107.      Although    Ted     Xereas        had    utilized   the   e-mail   address

“tedx@riotactcomedy.com” since 2005 for both commercial and personal business, on or

about January 17, 2012, Defendants prevented Ted Xereas’s access to his longstanding e-

mail account. Defendants also disabled Plaintiff’s mother’s e-mail on the same day.

Plaintiff’s mother had been working for the LLC from home without any compensation.

       108.      Plaintiff promptly exchanged e-mails with Defendants Dawson and Heiss

on January 17, 2012, and asserted his sole ownership of the Riot Act Trademark and e-

mail accounts and demanded that Defendants Dawson and Heiss return the disabled e-

mail accounts.



                                              34
 Case 1:12-cv-00456-ZMF         Document 102        Filed 08/22/17    Page 35 of 104




       109.   Following the firings of Ted Xereas and Mike Farfel, Plaintiff continued

to devote the “time and effort to the business as [wa]s reasonably necessary” per the

Operating Agreement and continued to handle his usual job responsibilities as is

documented in e-mails Plaintiff exchanged with Defendant Heiss.

       110.   On January 20, 2012, Defendants Dawson and Heiss saw Plaintiff in the

club and cornered him in his office. The Defendants locked the door and called an

impromptu managers’ meeting, which Defendant Dawson recorded on his phone. During

the meeting, Defendants Dawson and Heiss voted to relieve Plaintiff of certain

management duties.

       111.   In an e-mail dated January 25, 2012, Defendant Heiss acknowledged that

Plaintiff was at the club multiple times after the January 17, 2012 firings. An e-mail

exchange between Defendant Heiss and Plaintiff, dated January 22, 2012 and January 23,

2012, further demonstrates that Defendants were aware that Plaintiff continued to

perform his work duties after the January 17, 2012 firings. Despite having had full

knowledge that Plaintiff continued to diligently work and perform his duties for the LLC

subsequent to the January 17, 2012 firings, Defendants, on January 26, 2012, a date

known to Defendants as Plaintiff’s birthday, Defendants Dawson and Heiss held a

meeting, without notice, during which they purported, as the majority of the Managing

Members, to authorize the removal of Plaintiff from any management role or authority for

the operation of Riot Act Club #2 and/or the LLC.

       112.   Defendants Dawson and Heiss often called meetings without a stated

agenda, as required by the Operating Agreement, and on short notice. One such instance

occurred on January 26, 2012, when Defendant Heiss sent Plaintiff an e-mail requesting a



                                          35
 Case 1:12-cv-00456-ZMF           Document 102        Filed 08/22/17    Page 36 of 104




meeting within 24 hours; Plaintiff responded to this e-mail and asserted that these last-

minute, agenda-less meetings are often held under duress and resulted in business being

dictated to him.

         113.   On or about January 28, 2012, Defendants disabled Plaintiff’s use of his

RIOT ACT e-mail account.

         114.   After Defendants unlawfully seized control of Plaintiff’s e-mail account,

e-mails sent to his Riot Act e-mail address were intercepted by Defendants and never

relayed to Plaintiff. As such, Plaintiff was unable to conduct business and was deprived

of income that he would have received for specific engagements had he received these e-

mails.

         115.   Defendants further removed Plaintiff as a Managing Member on March

22, 2012, at which time they outlined Plaintiff’s alleged “unjustified actions.”

Defendants’ false allegations included, inter alia, that Plaintiff refused to return to the

club and refused to perform his business duties after the January 17, 2012 firings.

Defendants made this claim despite having actual knowledge that Plaintiff did indeed

return to the club after the January 17, 2012 firings and that he performed the job duties

required of him.

         116.   On or about that same date, Defendants Dawson and Heiss arranged for

the locks and security system codes at Riot Act Club #2 to be changed to prevent

Plaintiff’s access to the club or business records.

         117.   Plaintiff’s removal as a Managing Member violated Section 6.3 of the

Amended Operating Agreement, which lists only three triggering events that can lead to

the removal of a Managing Member: death, fraud/willful misconduct, or failure to devote



                                              36
 Case 1:12-cv-00456-ZMF              Document 102     Filed 08/22/17      Page 37 of 104




the time and effort to the business as is reasonably necessary. Although none of these

three triggering events had occurred, Defendants unlawfully removed Plaintiff as a

Managing Member.

         118.      Within a few days following Plaintiff’s illegal removal as Managing

Member and after his e-mail account was disabled, Plaintiff made inquiries regarding the

RIOT ACT Domain Names and associated e-mail accounts. It was at this time he

discovered that, in or around January 2011, before the business opened, Defendants

Dawson and Heiss, without Plaintiff’s knowledge, authorization, or approval, authorized

the     wrongful     revision   of   the   Domain   Name   Registration   information   for

“riotactcomedy.com” to unlawfully transfer ownership of the RIOT ACT Domain Names

to the LLC. As a result of the actions taken by Defendants, Plaintiff was denied access to

his longstanding e-mail accounts, deprived of ownership of his various RIOT ACT

Domain Names, and denied access to club booking records and to his customer and

contact lists, all to his detriment. Without Plaintiff’s required authorization Defendants,

by and through Squiid, illegally changed the registration and ownership of the domains,

thereby giving Defendants complete control of the websites and e-mail accounts

associated with the Plaintiff’s domain names, all of which he has owned and used since

2005.

         119.      The LLC had no policy regarding e-mail use and e-mail accounts, but

Plaintiff and his family had a reasonable expectation of privacy in their longstanding

accounts.       Additionally, all of the e-mail accounts were used for personal use and

contained private and confidential information including, but not limited to, medical

information and correspondence with legal counsel pertaining to the matters that give rise



                                              37
 Case 1:12-cv-00456-ZMF           Document 102        Filed 08/22/17      Page 38 of 104




to the filing of this action.

        120.    After illegally seizing Plaintiff’s e-mail account, an automated message

was sent to anyone who e-mailed Plaintiff stating that Plaintiff was no longer associated

with the LLC and that Defendant Heiss should be contacted directly.             Despite this

automatically generated message, Defendants and, at their direction, other LLC

employees intercepted, forwarded, impersonated and responded to e-mails written to

Plaintiff at the e-mail accounts associated with the RIOT ACT Domain Names owned by

Plaintiff. Similarly, Defendants also intercepted, read, forwarded and sometimes ignored

e-mails that were sent to the e-mail addresses of Plaintiff’s brother and mother, thereby

costing the LLC revenue as a result of missed business opportunities. Defendants also

monitored and read Plaintiff’s and his family’s e-mails in an attempt to acquire

information regarding this litigation and better prepare their legal defense.

        121.    Following Plaintiff's removal, Defendants improperly used the RIOT ACT

Trademark while they ineptly continued to promote comedy, a business they had no prior

experience in, which further devalued the RIOT ACT Trademark.

        122.    Upon information and belief, Defendants have taken and used Plaintiff’s

valuable intellectual property, including the RIOT ACT trademarks, the RIOT ACT

website, the RIOT ACT e-mail addresses, and Plaintiff’s database of 12,000 potential

customers and contacts, even after Plaintiff instructed them to cease doing so.

        123.    Upon information and belief, Defendants have received economic benefits

and financial gains from the unauthorized use of Plaintiff’s RIOT ACT trademarks, the

RIOT ACT website, the RIOT ACT e-mail addresses, and Plaintiff’s database of 12,000

potential customers and contacts.



                                             38
 Case 1:12-cv-00456-ZMF           Document 102         Filed 08/22/17       Page 39 of 104




       124.    Upon information and belief, Defendants have continued to use the Riot

Act trademark in their business including on all their licensing with the District of

Columbia and the licenses around the LLC.

       125.    Following Plaintiff’s removal, Defendants Dawson and Heiss lost business

and ruined Plaintiff’s long-standing relationships.      For example, the “Funniest Fed”

competition was lost as a result of poor management and follow-up. The event was

sponsored by Geico, covered by the Huffington Post and had a huge ad campaign that

would market the LLC to every major federal agency resulting in press releases being

sent to 150,000 federal employees, ads run on the metro system and Nationals stadium

including the “jumbotron,” and revenue generated from at least 7 sold out shows. The

official 54th Grammy Telecast Viewing party was also lost as a result of mismanagement

and a lack of trust in the new management put in place after Plaintiff’s removal. This

mismanagement resulted in lost revenue to the LLC.

       126.    Defendants later offered to pay an employee, Dawn Henderson, back

monies to which she was already entitled – if she accused Plaintiff of taking down social

media sites. This effort to implicate Plaintiff for acts that he had nothing to do with were

an effort to create grounds to remove or discipline Plaintiff after the fact.

       127.    Rich Mackey, a lifelong friend of Dawson, initially planned to invest in

the Venture and was slated to be involved in business operations, but he ultimately

distanced himself.    While at the Venue, Mr. Mackey told another individual, Jason

Knutson, that Dawson has a history of bringing people into a business, getting what he

needs from them, and then throwing them out. Defendant Dawson has bragged that “I

make money off other people’s ideas” and he has been sued in the past for similar



                                              39
 Case 1:12-cv-00456-ZMF           Document 102         Filed 08/22/17     Page 40 of 104




actions.

        128.    Since the date of his effective removal on January 26, 2012, Defendants

Dawson and Heiss have systematically, and without cause, terminated the employment of

all club employees associated with Plaintiff.

        129.    Since the date of his effective termination on January 26, 2012, Defendants

Dawson and Heiss have actively engaged in both written and oral communications with

members of the entertainment industry and the general public, including RIOT ACT fan

club members, agents, event planners, and others falsely representing that Plaintiff

Xereas’s employment was terminated due to incompetence, dishonest business practices,

deceptive sales practices, and other similar false claims.

        130.    Defendant Dawson and Heiss have made such claims despite full

knowledge of their falsity, and with the intention of causing damage to Plaintiff’s

Xereas’s personal and business reputation and to his ability to continue to operate in his

field of expertise.

        131.    After Plaintiff’s illegal removal, Defendants instructed employees of the

club to advise people calling for Plaintiff that he was “in a meeting.”

        132.    Following Plaintiff’s termination, Paul Mooney, a well-known comedian

and actor, attempted to contact Plaintiff Xereas through his e-mail address. Plaintiff had

a business relationship with Mr. Mooney since 1995, when Plaintiff booked financially

lucrative shows at larger venues, including Constitution Hall. Mr. Mooney cancelled a

previously scheduled engagement at the venue.            Despite Mr. Mooney canceling,

Defendants kept advertising him. Mr. Mooney was upset about these actions and, as a

result of Defendants’ actions and Mr. Mooney’s inability to contact Plaintiff through his



                                             40
 Case 1:12-cv-00456-ZMF          Document 102        Filed 08/22/17     Page 41 of 104




long-standing RIOT ACT e-mail address, he entered into a booking arrangement with the

Howard Theater, thereby depriving Plaintiff the ability to book him.

       133.    After Defendants unlawfully seized Plaintiff’s e-mail accounts, the owner

of Del Rios, a venue at which Plaintiff had booked Saturday nights from 2007-2012 for

the months of September through April, sent an e-mail to Plaintiff indicating that he had

been trying to reach Plaintiff by e-mail but he kept receiving an automatic reply stating

that Plaintiff was no longer at the Venue. He further stated that when he called the

venue, he was told that Plaintiff was in a meeting and they asked for his contact

information but no one ever got back to him. He concluded by saying that he had to find

someone else to book his venue thereby resulting in lost income to Plaintiff and/or

Derivative Plaintiff.

       134.    In addition to Defendants interfering with Plaintiff’s business relations as

they relate to Paul Mooney and the Del Rios bookings, the illegal seizure of the RIOT

ACT Domain Names and associated e-mail addresses led Plaintiff to miss important e-

mails from other individuals and companies with whom he does business.               Thus,

Defendants improper and illegal actions interfered with Plaintiff’ and Derivative

Plaintiff’s business relations thereby resulting in Plaintiff and/or Derivative Plaintiff

losing income by missing specific engagements that he would have been able to

capitalize on had he been receiving his e-mails as he should have.          Those missed

engagements include the following: (a) bookings for various comics including Rich Vos,

Dante Nero, Joe Matarese, Sherrod Small and Jay Oakerson through CH Entertainment;

(b) Launch party for the Blis FM radio station; (c) Opportunity to cross-promote with

LiveNation for big shows at the Warner Theater including 3 Brian Regan shows, 3 Lewis



                                            41
 Case 1:12-cv-00456-ZMF          Document 102        Filed 08/22/17      Page 42 of 104




Black shows, a Gabriel Iglesias show, an Anjelah Johnson show and an Adam Carolla

show; (d) an annual engagement with Potomac Place; (e) a Harrington, Delaware casino

engagement; (f) an outdoor cookout event for Charlie Smith.           In addition to these

financial opportunities, Plaintiff’s inability to access his e-mails resulted in the loss of

promotional and charity opportunities that would have resulted in income to Plaintiff

and/or Derivative Plaintiff. Some of these engagements include: (a) booking comedians

to perform on the WPGC 95.5 FM radio show; (b) an interview for Plaintiff with The Hill

newspaper in anticipation of the White House Correspondents Dinner; and (c) Plaintiff

being a judge at the State Theater.

       135.    Defendants, after making repeated false statements and misleading

Plaintiff into going into business with Defendants subject to agreements breached by

Defendants, seized Plaintiff’s e-mail marketing lists and social media accounts and

continued to use the same social media accounts even after rebranding from Riot Act to

Penn Social. The social media sites include two Facebook pages, Twitter, Foursquare,

Tumblr and YouTube.       Defendant Dawson also uses these social media account to

promote and market his other businesses.

        136. Upon information and belief, Defendants continue to operate and receive

 economic benefits as a result of the unauthorized use of the “Hire a Comic” website,

 containing many videos, biographies and booking forms developed by Plaintiff Xereas

 over an extensive period of time.

        137. Upon information and belief, Defendants continue to operate and receive

 economic benefits as a result of the unauthorized use of the Riot Act Database

 (containing approximately 12,000 entertainment and customer contacts), Riot Act



                                            42
 Case 1:12-cv-00456-ZMF           Document 102        Filed 08/22/17      Page 43 of 104




 videos, and the Riot Act Facebook and Twitter accounts, all of which were created and

 developed by Plaintiff Xereas through extensive time and effort.

       138.    Despite repeated demands, Defendants Dawson and Heiss continued to

deny and prevent Plaintiff’s access to his e-mail account at “johnx@riotactcomedy.com,”

and continued, despite the termination of Plaintiff’s activities in the club’s operations, to

use the RIOT ACT Trademarks and RIOT ACT Domain Names without Plaintiff’s

permission or authority.

       139.    On or about February 14, 2012, counsel for Plaintiff sent a letter to

counsel for Defendants Dawson, Heiss, and the LLC, reminding them of Plaintiff’s

ownership of the RIOT ACT Trademarks and Domain Names, and demanding that they

cease and desist from any further use of the RIOT ACT Trademarks and Domain Names,

and any variations thereof, thereby terminating the trademark license.

       140.    Defendants Dawson and Heiss continued to make unauthorized and

improper use of the RIOT ACT Trademarks in its regular business operations through

August 2012. Defendants’ Counsel advised Plaintiff’s Counsel on June 27, 2013, in

response to an Emergency Motion filed by Plaintiff, that an e-mail was sent to Plaintiff’s

previous counsel on or about July 1, 2012, wherein information was provided to transfer

the RIOT ACT Domain Names back to Plaintiff.          However Plaintiff’s previous counsel

has stated to Plaintiff’s current counsel that he never received this communication, and his

colleague, who had been copied on each prior communication, was not included in this

alleged communication. On or about July 2, 2014, Defendants current counsel sent

Plaintiff’s counsel insufficient information to transfer ownership of the RIOT ACT

Domain Names and associated e-mail accounts back to Plaintiff, and correspondence



                                             43
 Case 1:12-cv-00456-ZMF           Document 102         Filed 08/22/17      Page 44 of 104




ensured. Finally, upon receiving the requisite information, the transfer was effectuated on

September 9, 2014.

        141. Defendants retained all of Plaintiff’s e-mails from 2005 until July 2012,

 but returned only e-mails received from January 28, 2012 through June 25, 2012. This

 action has prevented Plaintiff from accessing e-mails that would serve as further

 evidence of Defendants’ egregious, illegal actions and their liability in this case.

       142.    On information and belief, Defendants Dawson and Heiss entered into the

original and Amended Operating Agreements, business relationship, and implied

trademark license with Plaintiff Xereas in bad faith, with the intention of taking improper

advantage of Plaintiff’s comedy club management expertise, talent booking skills,

industry contacts, e-mail customer lists, and long-established and favorable reputation in

the industry, his financial contribution, and his significant contribution of time, solely for

purposes of launching a comedy club using the established RIOT ACT Trademarks and at

the RIOT ACT Domain Names, with the intention of thereafter terminating Plaintiff’s

participation, involvement, and ownership in the Venture.

       143.    Following the effective termination and exclusion from the business of

Plaintiff, the reviews of and customer experience reports for Riot Act Club #2 became

overwhelming negative, the club’s ticket sales significantly declined, and the profitability

of the club decreased significantly, all resulting in damage to Plaintiff’s reputation, to the

goodwill he labored to establish in the RIOT ACT Trademarks, and to his financial

investment in the Venture. Comics canceled shows and refuse to appear because of new

bad management. The club was in disarray and sales declined as did overall revenue.

       144.    The Offering Memorandum that was used to secure investment funds



                                             44
 Case 1:12-cv-00456-ZMF           Document 102        Filed 08/22/17      Page 45 of 104




stated that a full subscription of $2 million in investment funds would allow for a “6

month ramp up period” to provide for operational activities after the club opened;

however Defendants overspent and/or misappropriated funds such that the business

lacked working capital to operate. On information and belief, Defendants Dawson and

Heiss engaged in self-dealing that benefitted Dawson and Heiss individually by

exceeding, mismanaging, and misappropriating almost all of the $2.3 million raised from

investors. The bulk of this money was allegedly used for the buildout of the club, which

went over budget by approximately $500,000 and left the company in debt before it

opened its doors. As a result, Defendants Heiss, Dawson and Plaintiff received an

aggregate tax write-off of approximately $1.2 million, while the Class B investors got a

comparatively miniscule write-off and no return on their investment.            Because of

Plaintiffs lack of income (a direct result of Defendants’ failure to pay him), the tax write-

off was of negligible value to him; he simply did not have income to offset against the

write-off. In contrast, and on information and belief, the tax write-off was valuable to

Defendants Heiss and Dawson. Accordingly, the Class B investors paid 100% of the

renovations, received a 20% aggregate interest in future operations, and unwittingly gave

Defendant Heiss and Defendant Dawson the lion’s share of the valuable tax losses.

       145.    Defendants Heiss and Dawson usurped a corporate opportunity that could

have inured to the benefit of the Derivative Plaintiff as the large tax write-off that

benefitted Defendants Dawson, Heiss and Xereas could have been passed along to the

investors whose money was used to create the write-off in the first place.

       146.    Defendants wasted money unnecessarily, namely the excessive amount

spent on the build-out and the incurring of unneeded costs and expenses in the form of,



                                             45
 Case 1:12-cv-00456-ZMF          Document 102        Filed 08/22/17        Page 46 of 104




inter alia, inflated salaries and payments to friends of Defendants Dawson and Heiss.

       147.    The Offering Memorandum further misrepresented that “each Managing

Member has contributed $100,000 for pre-offering expenses and to serve as a

contingency reserve in the event that the offering is not fully subscribed or additional

funds are required[.]” This was never done.

       148.    On June 19, 2012, a succession plan was sent to shareholders via e-mail

by Defendant Dawson.. However, Plaintiff did not get actual notice of the plan as

Defendants sent the e-mail to Plaintiff’s RIOT ACT e-mail address, an account that was

illegally seized by Defendant. Defendants were aware that Plaintiff would not receive

this notice. Furthermore, Defendant Dawson proposed an alternative distribution model

that would require Plaintiff’s approval, yet Defendants made no effort to seek Plaintiff’s

approval.

       149.    On information and belief, many of the costs, expenses and

reimbursements paid by the LLC are questionable, grossly inflated, improper and/or

unsubstantiated by any invoices, receipts, statements or other evidence.

       150.    On information and belief, Defendants have been spending company funds

on non-business assets, non-business expenses, and for the benefit of Defendant

Dawson’s other companies as well as Dawson’s son’s company.

       151.    Upon information and       belief, Defendants Dawson and Heiss have

misused and mismanaged the funds and assets belonging to the LLC, and have

improperly spent and transferred funds from the LLC in order pay their personal

expenses, and other expenses unrelated to the LLC.

       152.    Upon information and belief, Defendant Dawson has improperly



                                            46
 Case 1:12-cv-00456-ZMF          Document 102        Filed 08/22/17      Page 47 of 104




commingled funds between the LLC and his other business ventures.

        153.   Upon information and belief, Defendants have also used funds from the

LLC to improperly reimburse themselves for personal and non-LLC related expenses.

        154.   Sometime in 2014, Defendant Dawson started receiving payments in the

form of “management fees” to his company Tin Shop, LLC, notwithstanding the fact that

the company already employs multiple full-time general managers and pays them quite

well.

        155.   Defendant Dawson and Heiss have improperly used substantial LLC

monies to fund their own legal defense in this case. LLC monies were also used to fund

former Defendant Squiid’s legal defense.

        156.   After illegally removing Plaintiff, Defendants hired legal counsel to assert

their ownership of Plaintiff’s trademark in furtherance of their scheme. Having removed

Plaintiff, hijacked his intellectual property, and taken control of all his contacts and

databases, and were operating a business to satisfy the zoning requirements that they

could not have met but for Plaintiff’s involvement. In fulfillment of the last step of their

fraudulent scheme, Defendants were hoping that they could legally secure the RIOT ACT

Trademark and continue running the business without Plaintiff.

        157.   After Plaintiff was removed as a Managing Member and Defendants were

mismanaging the LLC Defendants Dawson and Heiss and their agents falsely told

important contacts in the comedy business that management was still the same and

Plaintiff was still involved which further diluted and diminished the RIOT ACT

Trademarks.

        158. In June 2012, after unsuccessfully challenging Plaintiff’s ownership of the



                                            47
Case 1:12-cv-00456-ZMF          Document 102        Filed 08/22/17       Page 48 of 104




RIOT ACT trademark, Defendants closed the theater to remodel and rebrand, after just

10 months of operations. The business reopened on July 14, 2012, as Penn Social, a

sports bar, restaurant, and gaming establishment. Defendants removed most of the

seating for comedy shows and added more bars, a dance floor, and game machines. The

new operation included promotions such as pub crawls, drinking game tournaments,

gaming tournaments and dance parties that encouraged excessive drinking and resulted

in fights, noise, disturbances, and many incidences that required police involvement and

resulted in complaints from the neighbors. There is no record that any building permits

were issued for this remodel. Indeed, Defendants would have been unable to obtain

such permits due to the zoning restrictions associated with the space.

       159. Despite the fact that the LLC is no longer a comedy theater and has

changed its business operations, the Articles of Organization have not been amended to

reflect the change. On January 13, 2013, Defendants amended the business name in the

Articles of Organization, but did not file an amendment to change the purpose of the

LLC. As such, the purpose of the LLC remains “to run a comedy theater, bar, restaurant

and all activities incidental or relating to.” In addition, the Operating Agreement still

refers to the old Articles of Organization and specifically states that the purpose of the

business is to “own and operate a comedy theater, restaurant & bar & a school of

comedy and engage in any and all activities related or incidental to.”

       160. The Alcoholic Beverage Regulation Administration (“ABRA”) guidelines

require that all “substantial changes” be reported to the ABRA. Despite Defendants

making changes that are considered “substantial changes” to their business operations,

Defendant Heiss signed off on and filed a Name Change Amendment with ABRA



                                           48
 Case 1:12-cv-00456-ZMF           Document 102         Filed 08/22/17    Page 49 of 104




 stating that there was “no substantial change to business operations.” Additionally, the

 original ABRA License issued was a CX multi-purpose license issued only to theaters

 and performing arts venues. Defendants still operate under this license using the RIOT

 ACT name despite no longer being a theater or performing arts venue and despite claims

 that they no longer use Plaintiffs’ trademarks.

        161. The changes to the business operations also put the LLC in violation of its

 Certificate of Occupancy because Penn Social, LLC, is an unrecognized legal entity by

 Department of Consumer and Regulatory Affairs (“DCRA”) and because the approved

 zoning designation for the Certificate of Occupancy is “theatre/performing arts.” As

 such, the LLC is at risk of losing their liquor license.

        162. Defendants have not amended the Articles of Organization and Operating

 Agreement nor filed factually accurate paperwork with regard to the Certificate of

 Occupancy and Certificate of Good Standing because this could jeopardize their entire

 business operation. But for Plaintiff’s involvement in the business and Defendants’

 continued use of the RIOT ACT Trademark, Defendants would not have the legal status

 to conduct their business. Plaintiff’s involvement allowed Defendants to backdoor their

 way into carrying out their current business operations and Defendants continue to use

 the RIOT ACT Trademark to mislead government agencies and maintain their

 operations.

       163.    The intentional illegal use of Plaintiff’s intellectual property continues as

of the date of the filing of this Second Amended Complaint. Defendants continue to hold

Plaintiff’s e-mails, his website content, and his RIOT ACT database, contacts, videos,

Facebook and Twitter accounts. Moreover, despite assertions that they have “returned”



                                              49
 Case 1:12-cv-00456-ZMF          Document 102         Filed 08/22/17     Page 50 of 104




such intellectual property and have ceased doing business under the RIOT ACT

Trademark, as of the date of this filing, Defendants continue to use that trademark in their

business dealings with the District of Columbia, including on their liquor license and

Certificate of Occupancy, both of which are displayed in the principal place of business

of the LLC. Such actions have the effect of reducing the value of the RIOT ACT

Trademark and of preventing Plaintiff from effectively using them.

        164. Defendant Dawson has used the information and contacts he obtained

 through Plaintiff to benefit his other businesses.     For example, Defendant Dawson

 booked comedy shows at his other establishments with proprietary information he

 obtained from Plaintiff.

       165.    All of Defendants Dawson’s and Heiss’s acts described herein were taken

in their capacity as managing members, principals, and/or agents of the LLC

       166.    Despite all of Defendants’ misconduct which was intended to undermine,

sabotage, and negatively impact the revenue of the LLC so as to give Dawson and Heiss

a pretextual reason to remove Plaintiff, Riot Act Club #2 started turning a sizeable profit

in November 2011 and was on pace to have its biggest month in January 2012 before

Plaintiff was removed as a Managing Member. Additionally, the LLC had much higher

average monthly losses after Plaintiff was removed as compared to the time period during

which he was involved in the LLC’s day-to-day operation. Further, the reviews from

patrons, comedians and online review websites such as Yelp were overwhelmingly

positive while Plaintiff was the Managing Member of the LLC, but became negative after

he was removed, thereby further devaluing and diminishing Plaintiff’s RIOT ACT

Trademark.



                                            50
 Case 1:12-cv-00456-ZMF         Document 102        Filed 08/22/17     Page 51 of 104




       167.   After Plaintiff was improperly removed as a managing member,

Defendants engaged two trademark attorneys to attempt to secure exclusive ownership of

the RIOT ACT Trademark and Domain Names in furtherance of their scheme, but were

ultimately unsuccessful in doing so. Once that part of Defendants plan failed, Defendants

made false statements to the media disparaging the comedy club alleging it was a failed

business plan despite Defendants having every intention of continuing to promote

comedy shows if they would have been successful in securing the RIOT ACT

Trademarks and Domain Names and despite Defendants signing off on the Business Plan

and using it to secure $2.3 Million Dollars from investors. Defendants further falsely

stated that the club was mismanaged despite healthy revenue in the last few months

Plaintiff was a Managing Member and that a comedy club could not succeed in the Penn

Quarter area of D.C. where the Venue was located notwithstanding the fact that

Defendants expended LLC funds to obtain legal ownership to the RIOT ACT Trademark

and RIOT ACT Domain Names after Plaintiff was removed to attempt to operate in that

geographical area.

       168.   Despite repeated verbal and written requests by Plaintiff and Plaintiff’s

legal counsel, Defendants have continuously denied Plaintiff access and refused to

provide Plaintiff with documents, financial and otherwise, that he is entitled to, as a

26.67% Member of the LLC, under District of Columbia law and pursuant to the

Operating Agreement executed by the parties hereto. Defendants refused to provide

these documents to Plaintiff while he was a Managing Member of the LLC and continue

to deny him access to these documents as of the date of the filing of this Second

Amended Complaint.



                                           51
 Case 1:12-cv-00456-ZMF          Document 102        Filed 08/22/17    Page 52 of 104




       169.    Defendants violated Section 6.3 of the Amended Operating Agreement by

failing to notify other Members of Plaintiff’s termination as a Managing Member of the

LLC within 10 days of the termination as is required by Section 6.3. This is especially

troubling because the RIOT ACT business plan was used to solicit investors and, as such,

the Defendants relied heavily on Plaintiff’s expertise, reputation and experience in the

comedy business to secure investment funds.

       170.    Defendants violated Section 6.3 of the LLC Amended Operating

Agreement by failing to present all Members, namely Plaintiff, with a succession plan

within 90 days of Plaintiff’s removal as a Managing Member.

       171.    Defendants violated Section 6.4 of the LLC Amended Operating

Agreement, which states that each Managing Member shall be entitled to receive a

reasonable market-based salary as compensation for the performance of management

responsibilities. Plaintiff was paid a total of approximately $26,000 despite working

tirelessly for over two years.

       172.    On information and belief, Defendants violated Section 8.2 of the

Amended Operating Agreement by writing checks and otherwise using LLC funds for

non-company purposes.

       173.    Defendants violated Section 10.4 of the Amended Operating Agreement

which states that when Managing Members call meetings, they must state the purpose of

the meeting and no other business shall be conducted at the meeting without consent of

the Managing Members. Section 10.4 further states that meetings shall not be held

sooner than 15 days from the date that notice of a meeting is given.

       174.    Defendants violated the verbal contract that they had with Plaintiff as it



                                            52
 Case 1:12-cv-00456-ZMF         Document 102        Filed 08/22/17     Page 53 of 104




relates to Plaintiff retaining ownership of the RIOT ACT Trademark and RIOT ACT

Domain Names.

       175.   Plaintiff has owned the RIOT ACT trademarks, by virtue of first use and

other acts alleged herein, since 2005 through the present. Plaintiff has never transferred

ownership of the RIOT ACT Trademarks or Domain Names to any other person or entity.

       176.   Defendants communicated false information to Plaintiff when Heiss and

Dawson falsely misrepresented to Xereas in March 2010, and Dawson did so again in

May 2011, that Xereas would retain sole ownership and control of the RIOT ACT

Trademarks and Domain Names and that he would be the “face” and “key man” in the

company.

       177.   Defendants Dawson and Heiss, by virtue of being managers of the LLC at

the time most of the events that give rise to this Second Amended Complaint occurred,

were in a fiduciary relationship with Plaintiff who was also a manager of the LLC at the

time most of the events that give rise to this Second Amended Complaint occurred.

       178.   Plaintiff, Defendant Dawson and Defendant Heiss are in a fiduciary

relationship with each other as a result of them all being members of the LLC.

       179.   Defendants Dawson and Heiss are in a fiduciary relationship with

Defendant Penn Social, LLC as a result of Dawson and Heiss both being managers at the

time most of the facts that gave rise to this Second Amended Complaint occurred and as a

result of them being members of the LLC.

       180.   Defendants Dawson. Heiss and Penn Social LLC are in a fiduciary

relationship with all members of the LLC.

       181.   A fiduciary relationship exists between Derivative Plaintiff and all



                                            53
 Case 1:12-cv-00456-ZMF          Document 102        Filed 08/22/17     Page 54 of 104




Defendants,

       182.    In accordance with the law of the District of Columbia statutes (D.C. Code

§ 29-804.09) and District of Columbia common law, members of an LLC owe fiduciary

duties to both the LLC and to the other members.

       183.    Plaintiff is bringing a derivative action on behalf of Derivative Plaintiff,

Penn Social, LLC, as a current member of the LLC. Pursuant to § 29–808.02 of the D.C.

Code, Plaintiff may maintain a derivative action to enforce a right of the LLC if he first

makes a demand on the other members requesting that they cause the company to bring

an action to enforce the right and the other members do not bring the action within a

reasonable time OR if such a demand would be futile. Plaintiff has not made a demand in

this case. As such, § 29–808.04 of the D.C. Code states that in a derivative action under

§ 29‑808.02, if a demand has not been made then the Plaintiff must plead the reasons a

demand would be futile.

       184.    A demand for the members of the LLC to bring its own action would be

futile because a majority of the Members of the LLC have participated in or approved the

wrongdoing cited in this Complaint and are otherwise financially interested in the

challenged transactions.   Pursuant to Paragraph 6.1 of the Amended and Restated

Operating Agreement of the LLC, the Managing Members have the sole and absolute

discretion to file a lawsuit on behalf of the LLC; therefore, as a result of Dawson being a

Managing Member and holding a 52.4% ownership interest in the LLC, Dawson and

Dawson alone would have to authorize the LLC to file a lawsuit against himself and

Heiss for their collaborative wrongful acts. As such, it would be futile for Plaintiff to

request or demand for the LLC to bring its own action .


                                            54
 Case 1:12-cv-00456-ZMF          Document 102        Filed 08/22/17     Page 55 of 104




       185.    Derivative Plaintiff pleads all of the Counts herein pursuant to §

29‑808.02 and § 29–808.04 of the D.C. Code.

       186.    Defendants Heiss and Dawson intentionally undermined and sabotaged

Plaintiff’s efforts to run the Venture successfully and profitably and denied him access to

the LLC checkbook and financial documents and records while he was still a Managing

Member of the LLC.

       187.    Defendants Heiss and Dawson squandered business opportunities that

would have resulted in substantial revenue and exposure for the LLC.                These

engagements were lost due to poor management and a lack of follow-up.

       188.    Defendants Heiss and Dawson took and authorized actions that created a

hostile work environment that affected morale and affected profits.

       189.    Defendants Heiss and Dawson sometimes made payments to Plaintiff and

other third parties without reporting these payments to the Internal Revenue Service,

paying and withholding the appropriate taxes on those funds or issuing the appropriate

W-2 or 1099 IRS Forms.

       190.    Defendants Heiss, with Defendant Dawson’s continued authorization,

approval and support, bullied staff and used her ownership and managerial role in the

business to intimidate and manipulate employees, which had the effect of diminishing the

performance of the LLC.

       191.    Defendants Heiss, with Defendant Dawson’s continued authorization,

approval and support, attempted to coerce an employee to sign a resignation letter under

duress by offering him $5000 and telling him he had to sign then and there, despite the

person telling Defendant Heiss that he wanted to consult with legal counsel.


                                            55
 Case 1:12-cv-00456-ZMF          Document 102        Filed 08/22/17     Page 56 of 104




       192.    Defendants Heiss and Dawson failed to disclose material facts regarding

the business to Plaintiff and Derivative Plaintiff including, inter alia, the financial

condition of the LLC, the ledger of the LLC, the eventual buyout of Defendant Heiss by

Defendant Heiss, details regarding the buildout and expenditures related thereto and

information about the hiring and engagement of employees and independent contractors. .

       193.    Defendants have used the RIOT ACT Trademark and Domain Names in

interstate commerce (including within the District of Columbia), and have made a false

designation of origin of such trademarks and domain names in interstate commerce, by

operating a website that sold merchandise and tickets throughout the country and was

accessed throughout the country, by booking and paying for comedians to travel from

different parts of the country, by running television commercials in multiple states, using

the Riot Act Trademark on the internet and using the RIOT ACT Trademark in

publications and documents distributed in multiple states.

       194.    Since the inception of the LLC, Defendants Dawson and Heiss have

managed the LLC’s books and records, set up the LLC’s bank accounts, and generally

exercised control over the bank accounts, assets, finances and expenditures of the LLC.

       195.    Defendants did not properly call meetings or keep regular minutes of

meetings in accordance with the LLC Operating Agreements.

       196.    Defendants did not properly, accurately, conventionally, reliably or

completely maintain the books and records of the LLC as is required by District of

Columbia law, federal law and the Section 8.1 of the LLC Operating Agreement, nor did

Defendants properly or accurately file federal and state tax returns. For example, despite

Plaintiff making his full One Hundred Thousand Dollar ($100,000.00) initial capital



                                            56
 Case 1:12-cv-00456-ZMF          Document 102        Filed 08/22/17      Page 57 of 104




contribution in 2011, the books and records of the LLC indicated that Plaintiff only made

a Fifty Thousand Dollar ($50,000.00) contribution.          Sometime on or about 2015,

Defendant eventually corrected this and filed amended tax returns.

       197.    Defendant Dawson purchased Defendant Heiss’s ownership interest in the

LLC at a price unconscionably lower than the fair market value of the ownership interest,

thereby defrauding Plaintiff and Derivative Plaintiff and resulting in lost revenue to the

Derivative Plaintiff and Plaintiff. Plaintiff was never informed of this buyout until 2014

and was never given an opportunity to purchase Heiss’s shares in the LLC. To Plaintiff’s

knowledge, the other Members were also not advised of Heiss’s intention to sell her

ownership interest nor were they afforded the opportunity to purchase or bid on Heiss’s

shares of the LLC.

       198.    Defendants Dawson and Heiss acted in bad faith by using their majority

shares to defraud and oppress Plaintiff.

       199.    Plaintiff set up social media accounts dating back to 2009 that connected

Plaintiff to personal friends, comedians, booking agents, entertainment representatives,

clients, customers and an extensive list of contacts that Plaintiff had developed over close

to two decades. After Defendants took control of Plaintiff’s social media accounts,

Defendants denied Plaintiff access to the social media accounts and the network of

people attached to those accounts assumed that messages they received from these

accounts or sent to these accounts were coming from and going to Plaintiff thereby

misleading them. Defendant Dawson also used these accounts to promote his other bars

and restaurants despite Plaintiff never authorizing same.

       200.    Pursuant to § 29–804.09 of the D.C. Code, Defendants Dawson and Heiss



                                            57
 Case 1:12-cv-00456-ZMF            Document 102         Filed 08/22/17       Page 58 of 104




owe the LLC, Plaintiff and all Members of the LLC the duties of loyalty and care. The

statute further states, inter alia, that this duty of loyalty shall include the duties to account

to the company and to hold as trustee for it any property, profit, or benefit derived by the

member from a use by the member of the company’s property or from the appropriation

of a limited liability company opportunity. This statute further provides that the duty of

care owed by Dawson and Heiss in the conduct of the company’s activities and affairs

“requires the members to refrain from engaging in grossly negligent or reckless conduct,

willful or intentional misconduct, or a knowing violation of law.”

        201.    Pursuant to § 29–804.09 of the D.C. Code, Defendants Dawson and Heiss

are required to “discharge the duties and obligations under this chapter or under the

operating agreement and exercise any rights consistently with the contractual obligation

of good faith and fair dealing.”

        202.    Pursuant to § 29–803.04 of the D.C. Code, “With respect to members of

professional limited liability companies, a member shall be personally liable and

accountable only for any negligent or wrongful acts or misconduct committed by the

member, or by any individual under the member’s supervision and control in the

rendering of professional service on behalf of a professional limited liability company

organized under this chapter.” As such, Defendants Dawson and Heiss should be held

individually liable for the wrongful actions pled in this Second Amended Complaint that

constitute either negligence, wrongful acts or misconduct on their part.

        203.    Pursuant to § 29–808.01 of the D.C. Code, “a member may maintain a

direct action in the Superior Court against another member, a manager, or the limited

liability company to enforce the member’s rights and otherwise protect the member’s



                                               58
 Case 1:12-cv-00456-ZMF            Document 102         Filed 08/22/17      Page 59 of 104




interests, including rights and interests under the operating agreement or this chapter or

arising independently of the membership relationship.”

       204.    Plaintiff and the two individual Defendants entered into a legally binding

and enforceable contract with each other, and with the Derivative Plaintiff, when they

executed the Member Managed Operating Agreement of Riot Act DC, LLC and, again,

when they executed the subsequent Amended and Restated Operating Agreement of Riot

Act DC, LLC.

       205.    Plaintiff conferred a benefit to Defendants when he devoted his full time

and contributed his resources, industry contacts, databases, social media accounts and

considerable talents to the Defendants who continue to retain the benefits unjustly,

without properly compensating Plaintiff. Dawson also engaged in self-dealing by using

these benefits to promote and market his other establishments thereby personally

benefitting himself financially as a result of Plaintiff’s contributions.

         206. Defendants wrongfully, illegally and without Plaintiff’s authorization,

 disabled Plaintiff’s use of the social media accounts that were started, developed, owned

 and operated by Plaintiff such that Plaintiff was denied use of the accounts. The RIOT

 ACT Trademark was improperly used by Defendants without authorization, and after

 Plaintiff instructed them to cease from using such Trademarks.             Thus, Defendant

 converting Plaintiff’s property for Defendants' own use and financial benefit and, more

 specifically, for the financial benefit of Defendant Dawson personally.

         207. The intention of the parties was that the social media accounts would be

 used to solely benefit the Derivative Plaintiff, but, upon information and belief,

 Defendant Dawson used the social media accounts to promote and market Dawson’s



                                              59
Case 1:12-cv-00456-ZMF          Document 102        Filed 08/22/17      Page 60 of 104




other businesses resulting in revenue for Defendant Dawson and his other

establishments.

       208. Defendants also disabled Plaintiff’s access to databases of Plaintiff’s

contacts in the entertainment industry and potential customers despite his demand for

same. These databases were compiled by Plaintiff over two decades and were the

property of Plaintiff. They were shared with the LLC solely for its own benefit and the

LLC’s exclusive use, but Defendant Dawson also converted these databases for the

financial benefit of his other businesses and, thus, for his own financial benefit. Thus,

Defendants have unlawfully exerted control and ownership over documents and

databases containing valuable lists of contact information for potential entertainers and

customers, in denial and repudiation of Plaintiff’s ownership rights.

       209. The willful, wrongful, intentional, and reckless acts of Defendants as

described herein constitute trover and conversion of Plaintiff and Derivative Plaintiff’s

assets, as a direct and proximate result of which Plaintiff has been irreparably injured,

including damage to his business and personal reputation, damage from being denied

access to his social media accounts and databases as a result of lost business

opportunities that would not be lost had Plaintiff had the access to his proprietary

information, damages as a result of attorney’s fees incurred by Plaintiff in an attempt to

recover his property, damages as a result of time expended to rebuild his contact list and

social media network and harm done to this litigation as a result of the knowledge

Defendants acquired and the information that Defendants withheld by continuing to

retain improper control of the e-mails associated with the RIOT ACT Domain Names.

      210.    Much of Defendants’ conduct in this case, as asserted with specificity



                                           60
 Case 1:12-cv-00456-ZMF           Document 102        Filed 08/22/17      Page 61 of 104




herein, is willful and outrageous and constitutes gross fraud.

          211.   Much of Defendants’ conduct in this case, as asserted with specificity

herein, is aggravated by evil motive, actual malice, and oppression.

          212.   Based on information and belief, Defendants Dawson and Heiss have

funded their entire defense of this lawsuit using LLC funds thereby depriving the LLC of

a substantial amount of revenue and notwithstanding the fact that Dawson and Heiss are

named individually in this lawsuit.      Pursuant to Section 7.1 of the LLC Operating

Agreement, the Derivative Plaintiff agrees to indemnify and pay the reasonable costs and

attorney’s fees for Managing Members for acts and omissions taken in their capacity as

Managing Members unless the acts and omissions are in violation of the Operating

Agreement or constitute fraud, gross negligence or gross misconduct. As such, Plaintiff

contends that under the Operating Agreement, Dawson and Heiss are not entitled to

indemnity of their attorney’s fees because many of their actions constitute fraud, gross

negligence or gross misconduct.

          213.   Pursuant to § 29–804.08(c) of the D.C. Code, Dawson and Heiss are

entitled to indemnity from Derivative Plaintiff for their attorney’s fees and costs incurred

in this action so long as Dawson and Heiss promise to repay the Derivative Plaintiff if

Dawson and Heiss are ultimately determined not to be indemnified under § 29–804.08(a)

which provides that Dawson and Heiss must complies with the duties found in § 29-

804.09.     Dawson and Heiss should be required to return to Derivative Plaintiff the

amounts paid in attorney’s fees for breaching the following duties contained in § 29-

804.09: the duty of loyalty, duty of care, duty of good faith and fair dealing,

          214. Defendant Heiss violated Rule 1.7 of the D.C. Rules of Professional



                                             61
 Case 1:12-cv-00456-ZMF          Document 102        Filed 08/22/17      Page 62 of 104




 Conduct that govern conflicts of interest by (a) representing both the Derivative Plaintiff

 and Dawson and/or Dawson’s other business ventures, by representing Derivative

 Plaintiff while also holding an ownership interest in Derivative Plaintiff and by

 undertaking said representation without obtaining signed informed consent from

 Plaintiff, Dawson and Derivative Plaintiff.

        215.    Defendant Heiss violated Rule 1.8 of the D.C. Rules of Professional

 Conduct that govern conflicts of interest by entering into a business transaction with her

 client, Derivative Plaintiff, without fully disclosing and transmitting this information to

 Derivative Plaintiff in writing, by not allowing giving Derivative Plaintiff reasonable

 opportunity to seek the advice of independent counsel and by not receiving written

 informed consent from Derivative Plaintiff.

       INJURY TO PLAINTIFF XEREAS AND DERIVATIVE PLAINTIFF

       216.    Defendants wrongful and unauthorized use of the RIOT ACT Trademarks

and RIOT ACT Domain Names, in connection with the sale of goods and services, have

caused confusion, mistake, and deception on the part of consumers, members of the

entertainment industry, and members of the non-profit community as to the source of the

LLC’s services, the association or sponsorship of the LLC with Plaintiff Xereas, and to

irreparably injure Plaintiff by diminishing and damaging Plaintiff’s reputation and the

reputation of his RIOT ACT Trademarks and their hard-earned goodwill.

       217.    Defendants wrongful and unauthorized use of the RIOT ACT Trademarks

and RIOT ACT Domain Names have caused damage to Plaintiff because they have

misled, and are likely to continue to mislead, the public, the entertainment industry, and

the non-profit community into believing that the LLC’s business and activities are



                                               62
 Case 1:12-cv-00456-ZMF            Document 102             Filed 08/22/17   Page 63 of 104




authorized by, attributable to, sponsored by, or associated with, Plaintiff.

         218.   Defendants unauthorized and unlawful transfer of ownership, and revision

of registration information for the RIOT ACT Domain Names, and other related domain

names previously held by Plaintiff Xereas, to the LLC, and denial of access to Plaintiff

Xereas    of    all   RIOT    ACT       Domain       Name     email   accounts   including   his

“riotactcomedy.com” email accounts, have prevented Plaintiff Xereas from exercising his

ownership rights and control of his property, and precluded his ability to receive and send

email for both personal and business purposes, thereby causing irreparable damage to his

personal and business reputation and resulting in lost income.

         219.   Defendants have caused irreparable harm to the RIOT ACT Trademark as

a result of Defendants public statements about Plaintiff’s business acumen and flawed

business plan (a plan Defendants obviously approved when they used it to secure the

investment funds used to start the business). Prior to Defendants illegal actions, there was

no negative press as it relates to the RIOT ACT Trademark, but now a simple google

search of Plaintiff’s trademark yields negative results which has greatly devalued the

goodwill of the trade name that Plaintiff has established. Defendants Dawson and Heiss

have actively engaged in both written and oral communications with members of the

entertainment industry and the general public falsely representing that Plaintiff Xereas’s

employment was terminated due to incompetence, dishonest business practices, deceptive

sales practices, and other like false claims.

         220.   Defendants’ failure to pay Plaintiff the compensation he was promised and

entitled to receive as a result of the work he did as General Manager of the LLC has

resulted in lost income to Plaintiff.



                                                63
 Case 1:12-cv-00456-ZMF           Document 102         Filed 08/22/17     Page 64 of 104




       221.    Defendants Dawson and Heiss’s nepotistic and negligent hiring practices

resulted in the retention of individuals whose negligent, reckless, incompetent and

intentional actions coupled with inflated salaries for those individuals resulted in lost

revenue for the Derivative Plaintiff and, thereby, Plaintiff.

       222.    Defendants hired and engaged multiple employees and independent

contractors (“Hires”) who were unqualified, incompetent and unfit for the jobs they were

hired and engaged to do.

        223. Although Plaintiff was a Managing Member of the Derivative Plaintiff at

 the time Defendants hired and engaged the Hires, there were no managing member

 meetings held to vote on the Hires and Plaintiff was never otherwise informed, advised or

 consulted with regarding these Hires.       The employees and independent contractors

 complained of herein were hired by the Defendants without Plaintiff’s approval,

 knowledge or consent.

        224. After Defendants made the negligent Hires, Defendants acted negligently

 in training those Hires. Despite Plaintiff’s requests that Defendants prepare an Employee

 Handbook, training manual and put written policies and procedures in place regarding the

 Hires, Defendants ignored Plaintiff’s requests and failed to provide the Hires, most of

 whom had no experience in the comedy or entertainment business, with adequate training

 for them to perform the duties for which they were hired.

        225. Defendants encouraged the behavior and instructed the Hires to take

 inappropriate actions in order to frustrate Plaintiff into resigning in fulfillment of their

 scheme to push him out of the business.

        226. Notwithstanding Plaintiff voicing his concerns and disapproval regarding


                                             64
 Case 1:12-cv-00456-ZMF            Document 102         Filed 08/22/17      Page 65 of 104




 the Hires to Defendants, and further expressing to Defendants that the Hires were

 negatively impacting the Derivative Plaintiff and Plaintiff financially and should be

 terminated, Defendants failed to terminate the Hires and negligently retained them.

        227.    But for the Defendant illegally seizing Plaintiff’s e-mail accounts, Plaintiff

would have been able to secure business opportunities for Derivative Plaintiff and/or for

Plaintiff directly thereby resulting in additional income to Derivative Plaintiff and income.

Plaintiff and Derivative Plaintiff suffered damages in the form of lost income for the

dates on which engagements were not able to be booked and Plaintiff also suffered other

financial losses as a result of not being able to promote, advertise and marker his booking

services and company during those lost engagements as he ordinarily would do.

        228.    Defendant Heiss’s legal representation of the LLC created many conflicts

of interests, all of which Heiss should have disclosed to Plaintiff resulting in all of the

harm as pled herein which could have been avoided had Plaintiff been apprised of the

conflict of interest and retained legal counsel to protect his interests.

        229.    Defendant Dawson’s actions in holding back his resources and contacts,

failing to cross promote the LLC with his other establishments and otherwise limiting his

involvement while Plaintiff was a Managing Member in an effort to undermine and

sabotage Plaintiff resulted in lost revenue for both Plaintiff and Derivative Plaintiff.

        230.    Heiss’s reckless, inappropriate, and negligent decisions and actions

negatively impacted Derivative Plaintiff, and Plaintiff, financially.

        231.    Defendants’ wrongful removal of Plaintiff such that Plaintiff not being

able to operate the Venue resulted in lost profits to the Derivative Plaintiff and also to

Plaintiff.



                                              65
 Case 1:12-cv-00456-ZMF            Document 102         Filed 08/22/17       Page 66 of 104




        232.    Defendants wasted money unnecessarily, namely the excessive amount

spent on the build-out and the incurring of unneeded costs, expenses and salaries all of

which resulted in lost revenue to Plaintiff and Derivative Plaintiff..

        233.    Defendants mishandled and mistreated customers, comics and business

associates who subsequently stopped dealing with the LLC, thereby hurting the club and

affecting the profits of Plaintiff and Derivative Plaintiff.

        234.    Defendants have intentionally, negligently, improperly, unconventionally,

unreliably, inaccurately and fraudulently managed the business affairs of the LLC thereby

resulting in lost revenue to Plaintiff and Derivative Plaintiff.

        235.    Many of the costs, expenses and reimbursements paid by the LLC are

questionable, grossly inflated, improper and/or unsubstantiated by any invoices, receipts,

statements or other evidence and have resulted in lost revenue for Plaintiff and Derivative

Plaintiff.

        236.    Defendants has been illegally spending company funds on non-business

assets, non-business expenses and for the benefit of Defendant Dawson’s other

companies, thereby reducing the profits for Derivative Plaintiff and Plaintiff.

        237.    Defendants      have     made      questionable     hires,   payments   and

“reimbursements” to benefit some members of the LLC or companies that are owned by

members of the LLC in an effort to repay some investors while ignoring others, thereby

resulting in lost revenue for Plaintiff and Derivative Plaintiff.

        238.    Defendant Dawson and Heiss have used substantial amounts of LLC

monies to fund their own legal defense in this case even though Defendants Dawson and

Heiss are individual Defendants and it was their fraudulent, illegal, negligent and willful



                                              66
 Case 1:12-cv-00456-ZMF            Document 102        Filed 08/22/17      Page 67 of 104




actions that gave rise to this lawsuit in the first place, thereby affecting the income of

Plaintiff and Derivative Plaintiff.

       239.      The money raised from Class B members was intended to pay for the

build-out   as    well   as   operating   expenses,   but   Defendants    mismanaged        and

misappropriated investment funds leaving Plaintiff no operating capital to run the

business to its maximum potential, thereby diminishing revenue for Plaintiff and

Derivative Plaintiff.

       240.      As a result of Defendants’ acts, Plaintiff has suffered severe emotional

distress leading to harmful physical consequences and stress-related medical conditions

including headaches, stomach issues, a skin condition and an stomach ulcer that required

medical treatment.

       241.      As a direct and proximate result of the willful, wrongful, intentional,

reckless and negligence acts of Defendants as described herein, Plaintiff has been

irreparably injured, including damage to his business and personal reputation, damage

from being denied access to his social media accounts and databases as a result of

damaged business relationships, expectancies, prospective economic advantage and lost

business opportunities that would not be lost had Plaintiff had the access to his

proprietary information, damages as a result of attorney’s fees incurred by Plaintiff in an

attempt to recover his property, damages as a result of time expended to rebuild his

contact list and social media network, decline in value of Plaintiff’s membership interest,

and harm done to this litigation as a result of the knowledge Defendants acquired and the

information that Defendants withheld by continuing to retain improper control of the e-

mails associated with the RIOT ACT Domain Names.



                                              67
 Case 1:12-cv-00456-ZMF           Document 102       Filed 08/22/17      Page 68 of 104




       242.    As a direct and proximate result of these malicious and intentional acts, as

described above, Plaintiff and Derivative Plaintiff’s industry reputation, and relationships

with current and prospective customers and industry contacts have been irreparably

damaged, resulting in damage to Plaintiff and/or Derivative Plaintiff’s economic interests.

       243.    Defendants Dawson and Heiss’s negligent management and business

practices resulted in damaged relationships and the LLC losing engagements and costing

Plaintiff and Derivative Plaintiff.

                                        COUNT I

       Federal Infringement of an Unregistered Trademark and False Designation
of Origin under Section 43(a)(1)(A) of the Lanham Act 15 U.S.C. § 1125(a)(1)(A)
Asserted by Plaintiff Against Defendants Dawson, Heiss and Penn Social, LLC

       244.    Plaintiff repeats and realleges every allegation set forth in Paragraphs 1

through 243 above.

       245.    Plaintiff’s RIOT ACT Trademarks are inherently distinctive for comedy

related services and have acquired recognition and secondary meaning in and among the

general public and the entertainment industry as a source of high quality entertainment

services.

       246.    By virtue of Plaintiff’s longstanding and extensive use of the RIOT ACT

Trademarks in interstate commerce the RIOT ACT Trademarks have come to serve as a

designation of origin for Plaintiff’s various comedy services and activities, and have

become valuable symbols of the goodwill Plaintiff and his businesses have labored to

acquire over the years.

       247.    The actions of Defendants Dawson, Heiss, and the LLC in continuing to

use the RIOT ACT Trademarks and Domain Names, (following the termination of



                                            68
 Case 1:12-cv-00456-ZMF           Document 102        Filed 08/22/17     Page 69 of 104




Plaintiff’s management and control over the quality of the services offered by the LLC,

the termination of Plaintiff’s day-to-day involvement in the operations of Riot Act Club

#2, and the termination of the trademark and domain name license to the LLC), are likely

to cause confusion, or to cause mistake, or to deceive as to the affiliation, connection, or

association of Defendants, and each of them, and their commercial activities, by or with

Plaintiff, and thus constitute trademark infringement, false designation of origin and

unfair competition in violation of Section 43(a) of the Lanham Act, 15 U.S.C. §

1125(a)(1)(A).

       248.      Defendants Dawson, Heiss, and the LLC’s activities, as described above,

have damaged the reputation of Plaintiff, and the reputation, and goodwill of the RIOT

ACT Trademarks and the value thereof.

       249.      Defendants’ wrongful acts have irreparably injured Plaintiff and will

continue to do so unless and until such acts are enjoined by this Court under 15 U.S.C. §

1116. Plaintiff has no adequate remedy at law.

                                        COUNT II

       Federal Unfair Competition under Section 43(a) of the Lanham Act 15 U.S.C.
§ 1125(a) Asserted by Plaintiff Against Defendants Dawson, Heiss, and Penn Social,
LLC


       250.      Plaintiff repeats and realleges every allegation set forth in Paragraphs 1

through 249 above.

       251.      Defendants Penn Social, LLC, Dawson and Heiss have used the RIOT

ACT Trademarks and RIOT ACT domain names without permission in interstate

commerce in connection with the provision of goods and/or services, including the sale

of comedy tickets.

                                             69
 Case 1:12-cv-00456-ZMF         Document 102        Filed 08/22/17     Page 70 of 104




       252.   Defendants Riot Act, LLC, Dawson and Heiss’ use of the RIOT ACT

Trademarks and RIOT ACT domain names is likely to cause confusion, in part because

third parties were likely to believe that Riot Act, LLC, Dawson and/or Heiss owned the

RIOT ACT trademarks, which they did not.

       253.   By continuing to utilize the RIOT ACT Trademarks and RIOT ACT

Domain Names despite lawful termination of their right to use the same, and the resulting

misrepresentation of an association of Defendants Dawson, Heiss, and the LLC with

Plaintiff, Defendants have impaired the distinctiveness of the RIOT ACT Trademarks, and

unfairly competed with Plaintiff by depriving Plaintiff of access to his domain name

“riotactcomedy.com” and corresponding email accounts; interfered with Plaintiff’s ability

to maintain professional contacts and relationships and to continue doing business with

members of the industry; and caused irreparable harm to the reputation and goodwill of

the RIOT ACT Trademarks and the business reputation of Plaintiff.

                                      COUNT III

        Common Law Trademark Infringement and Unfair Competition under D.C.
Common Law Asserted by Plaintiff Against Defendants Dawson, Heiss and Penn
Social, LLC


       254.   Plaintiff repeats and realleges every allegation set forth in Paragraphs 1

through 253 above.

       255.   The aforesaid acts of Defendants Dawson, Heiss, and Penn Social, LLC

constitute common-law trademark infringement, misappropriation of Plaintiff’s goodwill,

and unfair competition under DC common law.

       256.   Defendants Dawson, Heiss, and Riot Act DC, LLC’s activities, as

described above, have damaged the reputation and goodwill held by the RIOT ACT

                                           70
 Case 1:12-cv-00456-ZMF          Document 102        Filed 08/22/17     Page 71 of 104




Trademarks and the value thereof.Defendants’ wrongful acts have irreparably injured

Plaintiff as set forth above, and will continue to do so unless and until such acts are

enjoined by this Court.

                                       COUNT IV

        Action for Trover and Conversion Under D.C. Common Law Asserted by
Plaintiff and Derivative Plaintiff Against All Named Defendants

         257. Plaintiff and Derivative Plaintiff repeats and realleges every allegation set

 forth in Paragraphs 1 through 256 above.

        258.   Defendants have illegally used company funds to pay for non-business

assets and non-business expenses, including, but not limited to, for the financial benefit

of Defendant Dawson, both personally and for the financial benefit of his other business

endeavors.

        259.   Defendants have illegally used company funds to pay for costs, expenses

and reimbursements that are either grossly inflated, improper and/or unsubstantiated.

        260.   The improper use of company funds by Defendants has resulted in the

Derivative Plaintiff and Plaintiff being denied monies that they would otherwise be

entitled to.

        261.   Defendants Dawson and Heiss have converted RIOT Act website, RIOT

Act videos, Facebook accounts and Twitter accounts developed and originally owned by

Plaintiff and Derivative Plaintiff, and such Facebook and Twitter accounts contain lists of

valuable numerous contacts that may be used for marketing purposes.

        262.    Defendants Dawson and Heiss have converted the database of

approximately 12,000 potential business contacts and customers which was developed

and originally owned by Plaintiff.

                                            71
 Case 1:12-cv-00456-ZMF            Document 102        Filed 08/22/17       Page 72 of 104




       263.    As described herein, Defendants’ actions constitute an unlawful exercise

of ownership, dominion, or control, over the personal property of Plaintiff and Derivative

Plaintiff in denial and repudiation of Plaintiff’s and Derivative Plaintiff’s rights thereto.

       264.    Plaintiff and Derivative Plaintiff have the right to the immediate access

and return of the personal property in possession of Defendant at the time Plaintiff

demanded it.

         265. Furthermore, Defendants Dawson and Heiss have also converted

 Plaintiff’s personal property by refusing to pay Plaintiff his rightful salary,

 compensation, earnings and proceeds from the operation of the LLC.                 Therefore,

 Dawson and Heiss have unlawfully exerted ownership and control over the funds owed

 to Plaintiff by the LCC, in denial or repudiation of the Plaintiff’s rights to such funds.

         266. Defendants Dawson and Heiss have unlawfully exercised ownership and

 control of funds and property belonging to LLC by using the LLC’s funds to pay for

 their personal expenses, as described herein. Dawson has also unlawfully exercised

 ownership and control over property belonging to the LLC by personally and improperly

 using the LLC’s funds to pay for business expenses of Dawson’s external business

 ventures, as described herein.

                                         COUNT V

      Breach of Contract and of the Covenant of Good Faith and Fair Dealing
Under DC Common Law Asserted by Plaintiff Against Defendants Dawson and
Heiss


       267.    Plaintiff repeats and realleges every allegation set forth in Paragraphs 1

through 266 above.

       268.    As contract parties in the District of Columbia, Defendants Dawson and

                                              72
 Case 1:12-cv-00456-ZMF           Document 102        Filed 08/22/17      Page 73 of 104




Heiss owed Plaintiff a duty of good faith and fair dealing.

       269.    Defendants breached their duty of good faith and fair dealing by

fraudulently inducing Plaintiff to enter into a business relationship with them, to sign the

Operating Agreement, to contribute $100,000, and to contribute his time and industry

expertise, contacts, and business plans, as well as the right to use Plaintiff’s RIOT ACT

Trademarks and Domain Names, to the Venture, and then undermining and sabotaging

Plaintiff’s efforts and ultimately terminating Plaintiff Xereas’s participation, involvement,

and ownership in the Venture shortly after the club’s opening.

       270.    As a proximate result of Defendants’ breach of their duty of good faith and

fair dealing, Plaintiff has been deprived of income throughout the time period leading up

to the club’s opening and for several months thereafter; has suffered damage to his

business and personal reputation; has been denied access to his email accounts; has lost

ownership of the RIOT ACT Domain Names and hireacomic.com domain name; has

suffered irreparable damage to the reputation and goodwill of his RIOT ACT Trademarks;

and has sustained other economic losses.

                                        COUNT VI

        Breach of Contract and of the Covenant of Good Faith and Fair Dealing
Under DC Common Law and § 29–804.09 of the D.C. Code Asserted by Derivative
Plaintiff Against Defendants Dawson and Heiss


       271.    Derivative Plaintiff repeats and realleges every allegation set forth in

Paragraphs 1 through 270 above.

       272.    Defendants Dawson and Heiss evaded the spirit of their agreement with

Plaintiff, more specifically the Operating Agreements executed between the parties.

       273.    Dawson and Heiss wilfully rendered imperfect performance of their

                                             73
 Case 1:12-cv-00456-ZMF          Document 102        Filed 08/22/17      Page 74 of 104




agreements with Plaintiff and further interfered with Plaintiff’s performance under their

agreements.

       274.    As a proximate result of Defendants wrongful and illegal actions as pled

above, Derivative Plaintiff has suffered monetary damages that would have been

avoidable had Dawson and Heiss not breached their duty of good faith and fair dealing.



                                       COUNT VII

      Breach of the Duty of Good Faith and Fair Dealing Under § 29–804.09 of the
D.C. Code Asserted by Plaintiff Against All Named Defendants

       275.    Plaintiff repeats and realleges every allegation set forth in Paragraphs 1

through 274 above.

       276.    As a proximate result of Defendants wrongful and illegal actions as pled

above, Plaintiff has suffered monetary damages that would have been avoidable had

Dawson and Heiss not breached their duty of good faith and fair dealing. Such damages

include, but are not limited to, the failure of the Defendants to pay Plaintiff his rightful

salary, compensation, earnings and proceeds from the operation of the LLC.

                                      COUNT XIII

     Breach of Contract Asserted by Plaintiff and Derivative Plaintiff Against All
Named Defendants

       277.    Plaintiff and Derivative Plaintiff repeats and realleges every allegation set

forth in Paragraphs 1 through 276 above.

       278.    A valid, written contract was created between Plaintiff and Defendants

upon execution of the LLC’s Operating Agreements (including both the original

Operating Agreement and the Amended Operating Agreement).                   The Operating



                                            74
 Case 1:12-cv-00456-ZMF            Document 102        Filed 08/22/17      Page 75 of 104




Agreements also created contracts between the LLC and Dawson and Heiss.

          279.   A verbal contract was created when Plaintiff and Defendants Dawson and

Heiss agreed that Plaintiff was to continuously maintain ownership of the RIOT ACT

Trademarks and RIOT ACT Domain Names.

          280.   The Operating Agreements created obligations and duties that Defendants

must adhere to.

          281.   The Defendants breached the Operating Agreements as specifically pled

herein.

          282.   The verbal contract between Plaintiff and Defendants created obligations

and duties that Defendants must adhere to.

          283.   Defendants breached the duties and obligations created by the verbal

agreement as specifically pled herein.

          284.   Defendants breaches resulted in Plaintiff not being able to fully participate

in the day-to-day business of the LLC resulting in monetary damages.

          285.   As a result of Defendants’ breaches of contracts, the Plaintiff has suffered

damages caused by the breaches, including but not limited to loss of salary,

compensation, earnings and proceeds from the operation of the LLC.

                                         COUNT IX

      Fraudulent Inducement under DC Common Law Asserted by Plaintiff
Against Defendants Dawson and Heiss

          286.   Plaintiff repeats and realleges every allegation set forth in Paragraphs 1

through 285 above.

          287.   Defendants Dawson and Heiss fraudulently induced Plaintiff to enter into

a business relationship with them by making knowingly false representations that they

                                              75
 Case 1:12-cv-00456-ZMF          Document 102        Filed 08/22/17     Page 76 of 104




would not pursue sole ownership and control of the RIOT ACT Trademarks and Domain

Names. Specifically, Dawson and Heiss promised Plaintiff that he would continue to

retain ownership of the RIOT ACT Trademarks and Domain Names on or about March

2010 in Defendant Dawson’s office, located at 4830 V Street, N.W. in Washington D.C.

Such representations were material to Xereas’s decision to enter into and maintain a

business relationship with Dawson and Heiss, and Xereas reasonably relied on such false

representations, thereby resulting in Plaintiff Xereas signing the Operating Agreement,

contributing $100,000 to the LLC, and contributing his time and industry expertise,

contacts, and business plans, and allowing use of the RIOT ACT Trademarks and Domain

Names by the Venture. However, Defendants Heiss and Dawson intended to terminate

Plaintiff ‘Xereas’s participation, involvement, and ownership in the LLC without cause

shortly after the club’s opening. Defendants also intended to take ownership of Plaintiff’s

trademarks and domain names without Plaintiff’s consent.

       288.    Defendants Dawson and Heiss also falsely promised Plaintiff to

compensate him for his services and to make him the “face” of the LLC responsible for

day-to-day operations. These representations were first made to Plaintiff on or about the

second week of March 2010 and again on or about mid-April 2010, and both promises

were made in Dawson’s Bedrock Management Offices on 4830 V Street, N.W. in

Washington D.C. Such false representations were made knowingly as Dawson and Heiss

had hired Xereas’s replacement before even opening the doors of the Venue, and the false

representations were material to Xereas’s decision to enter and maintain a business

relationship with Dawson and Heiss.          Xereas reasonably relied on such false

representations in contributing his money, time, effort and expertise to the LLC, as noted



                                            76
 Case 1:12-cv-00456-ZMF             Document 102      Filed 08/22/17      Page 77 of 104




herein.     Dawson and Heiss never paid Xereas the agreed to compensation thereby

depriving Plaintiff of income and also usurped his management responsibilities from the

outset in the manner pled herein.

          289.   Defendant Dawson and Heiss’s actions as pled in this Second Amended

Complaint constitute false representations made in reference to material facts with

knowledge of their falsity and with the intent to deceive. Plaintiff took actions in reliance

of these misrepresentations that resulted in harm and damages to him.

          290.   As a proximate result of Defendants’ fraudulent inducement, Plaintiff

Xereas has been deprived of income throughout the time period leading up to the club’s

opening and for several months thereafter; has suffered damage to his business and

personal reputation; has been denied access to his email accounts and e-mails; had the

RIOT ACT Domain Names improperly seized by Defendants; has suffered irreparable

damage to the goodwill of his RIOT ACT Trademarks; and has sustained other economic

losses.

                                        COUNT X

      Conspiracy to Defraud Under DC Common Law Asserted by Plaintiff
Against Defendants Dawson and Heiss


          291.   Plaintiff repeats and realleges every allegation set forth in Paragraphs 1

through 290 above.

          292.   Defendants Dawson and Heiss conspired to defraud Plaintiff Xereas by

agreeing amongst themselves and taking actions intended to fraudulently induce Plaintiff

to enter into a business relationship with them by making false representations that they

would not challenge Plaintiff’s sole ownership and control of the RIOT ACT Trademarks



                                             77
 Case 1:12-cv-00456-ZMF          Document 102        Filed 08/22/17      Page 78 of 104




and Domain Names and that he would be the general manager and face of the LLC. Such

false representations were material to Xereas’s decision to enter and maintain a business

relationship with Dawson and Heiss, and Xereas reasonably relied on such false

representations thereby resulting in Plaintiff Xereas signing the Operating Agreement,

contributing $100,000, and contributing his time and industry expertise, contacts, and

business plans, and allowing use of the RIOT ACT Trademarks and Domain Names by

the Venture, all the while intending to terminate, without cause, Plaintiff’s participation,

involvement, and ownership shortly after the club’s opening. This conspiracy plotted by

Dawson and Heiss violates the laws of the District of Columbia, federal law and common

law as otherwise pled herein.

       293.    Defendants Dawson and Heiss conspired to go into business with Plaintiff

since Plaintiff’s involvement, knowledge and contributions would enable the LLC to

become tenants in the Preferred Use Zoning building, with the plan to push Plaintiff out

soon after the grand opening once the LLC was a tenant and operating in the commercial

space. This fraudulent scheme was put into action by Dawson and Heiss when they hired

Plaintiff’s intended replacement, Morinello, on or about May 2011 before the business

was even open to the public and was further revealed to Dawn Henderson, an LLC

employee, on the business’s opening night, August 11, 2011, when she was told by

Nathaniel Adams that Plaintiff would not “be there long” and that he would be replaced by

Morinello.

       294.    Initially, Plaintiff and Defendant Dawson intended to be equal partners.

Defendant Dawson was introduced to Plaintiff by a realtor who indicated that Dawson was

interested in the property, but did not have a business plan that would meet the Preferred



                                            78
 Case 1:12-cv-00456-ZMF           Document 102        Filed 08/22/17      Page 79 of 104




Use Zoning requirement. Later, Dawson introduced Plaintiff to Defendant Heiss and

convinced Plaintiff to agree that she would be the third partner. As a result of Defendant

Heiss’s participation, Defendant Dawson and Defendant Heiss ensured that they would

always be the voting majority and, as such, they conspired and made decisions to force

Plaintiff out of the business once they were operating the Venue and had secured

Plaintiff’s contribution, industry contacts, social media accounts and learned from

Plaintiff how to run a comedy club.

       295.    Defendants Dawson and Heiss further conspired to defraud Plaintiff by

agreeing to compensate him for his services and never paying him the agreed to salary

thereby depriving Plaintiff of income.       Such false representations were material to

Xereas’s decision to enter and maintain a business relationship with Dawson and Heiss,

and Xereas reasonably relied on such false representations in contributing his money,

time, effort and expertise to the LLC, as noted herein.

       296.    Defendants Dawson and Heiss further conspired to defraud Plaintiff by

attempting to coerce him by threatening to fire Plaintiff if he did not sign paperwork that

would usurp him of duties and responsibilities as well as a large portion of his

membership interests. Defendants Heiss and Dawson also conspired to remove Plaintiff

as a Managing Member of the LLC in violation of the Operating Agreement. These

actions resulted in Plaintiff’s loss of income and in his inability to participate and manage

the business thereby affecting the reputation of the RIOT ACT Trademark.

       297.    Defendants Dawson and Heiss actively concealed their fraud from Plaintiff

intending to obtain and take improper advantage of Plaintiff’s comedy club management

expertise, talent booking skills, industry contacts, email customer lists, and long



                                             79
 Case 1:12-cv-00456-ZMF          Document 102        Filed 08/22/17     Page 80 of 104




established and favorable reputation in the industry, solely for the purpose of launching a

comedy club using the RIOT ACT Trademarks and RIOT ACT Domain Names, with the

intention of terminating Plaintiff’s participation, involvement, and ownership in the

Venture.

       298.    Dawson and Heiss’s actions as pled herein constitute an agreement

between two of them to participate in an unlawful act that caused injury to Plaintiff as a

result of unlawful overt acts performed by both Dawson and Heiss in furtherance of the

common scheme.

       299.    As a proximate result of Defendants’ fraudulent inducement, Plaintiff

Xereas has been deprived of income throughout the time period leading up to the club’s

opening and for several months thereafter; has suffered damage to his business and

personal reputation; has been denied access to his email accounts; had the RIOT ACT

Domain Names improperly seized by Defendants; has suffered irreparable damage to the

goodwill of his RIOT ACT Trademarks; and has sustained other economic losses.

                                       COUNT XI

      Fraudulent Misrepresentation or, in the Alternative, Negligent
Misrepresentation Under DC Common Law Asserted by Plaintiff Against
Defendants Dawson, Heiss and Penn Social, LLC


       300.    Plaintiff repeats and realleges every allegation set forth in Paragraphs 1

through 299 above.

       301.    Defendants fraudulently, or in the alternative, negligently, communicated

false information to Plaintiff when Heiss and Dawson falsely misrepresented to Xereas in

March 2010, and Dawson did so again in May 2011, that Defendants would not challenge

Xereas’s sole ownership and control of the RIOT ACT Trademarks and Domain Names

                                            80
 Case 1:12-cv-00456-ZMF          Document 102        Filed 08/22/17      Page 81 of 104




and that Xereas would be the “face” and “key man” in the company. However, Heiss and

Dawson instead intended to, and in fact did, reduce Xereas’s role even before opening the

doors of the Venue, and then again within two months of the opening of the business by

trying to coerce and threaten him into signing an Amended Operating Agreement, and

eventually improperly removing Xereas as a managing member of the LLC.

       302.    Defendants did not exercise due care in making the false representations

upon which Plaintiff relied.

       303.    Defendants intended or should have recognized that Plaintiff Xereas would

be imperiled by actions taken in reliance of Defendant’s fraudulent and/or negligent

misrepresentations that they would not attempt to take or transfer the trademarks and

domain names belonging to Xereas; and that they would make Xereas the “face” and “key

man” of the LLC.

       304.    Plaintiff reasonably relied on Defendants misrepresentations to his

detriment thereby resulting in Plaintiff Xereas signing the Operating Agreement,

contributing $100,000 to the LLC, and contributing his time and industry expertise,

contacts, and business plans, and allowing use of the RIOT ACT Trademarks and Domain

Names by the Venture, all the while Defendants Heiss and Dawson intended to terminate

without cause Plaintiff’s participation, involvement, and ownership shortly after the club’s

opening.

       305.    The various misrepresentations pled in this Second Amended Complaint

were intentionally or, in the alternative, negligently communicated when Dawson and

Heiss intended or should have recognized that Plaintiff would likely be imperiled by

action taken in reliance upon his misrepresentation and Plaintiff reasonably relied upon the



                                            81
 Case 1:12-cv-00456-ZMF            Document 102      Filed 08/22/17      Page 82 of 104




false information to his detriment.

       306.    As a proximate result of Defendants’ fraudulent and/or negligent

misrepresentations, Plaintiff Xereas has been deprived of income throughout the time

period leading up to the club’s opening and for several months thereafter; has suffered

damage to his business and personal reputation; has been denied access to his email

accounts; had the RIOT ACT Domain Names improperly seized by Defendants; has

suffered irreparable damage to the goodwill of his RIOT ACT Trademarks; and has

sustained other economic losses.

                                      COUNT XII

      Constructive Fraud Under D.C. Common Law Asserted by Plaintiff Against
Defendant Dawson

       307.    Plaintiff repeats and realleges every allegation set forth in Paragraphs 1

through 306 above.

       308.    After Plaintiff met Dawson, they spoke almost every day, multiple times,

through phone calls, face-to-face meetings, text messages and e-mails. Plaintiff developed

a high regard and respect for Dawson. Plaintiff admired and respected Dawson as he was

a very successful entrepreneur who was well known in the DC Metropolitan area and also

appeared to Plaintiff, at the time, to be an honest businessman with integrity. Dawson

quickly became someone Plaintiff looked up to and viewed as a mentor. Dawson gained

Plaintiff’s trust and confidence enabling Dawson to exercise extraordinary influence over

Plaintiff. As such, a confidential relationship existed between Plaintiff and Dawson.

       309.    After Plaintiff and Defendants Dawson and Heiss signed the first

Operating Agreement, there was now a fiduciary relationship between the three of them

that constitutes a confidential relationship by which Defendants Dawson and Heiss were

                                            82
 Case 1:12-cv-00456-ZMF          Document 102        Filed 08/22/17     Page 83 of 104




able to exercise extraordinary influence over Plaintiff as a result of their longstanding

business and personal relationship and their majority voting interest in the LLC.

       310.    Defendant Dawson made false representations to Plaintiff regarding

material facts, the RIOT ACT Trademark and his future role in the LLC, as stated with

specificity in this Second Amended Complaint and Plaintiff acted in reasonable reliance

on Dawson’s representations when he agreed to contribute $100,000, use of the RIOT

ACT Trademarks and RIOT ACT Domain Names, and all the rest of his proprietary

information including contact databases and social media accounts to enter into a

business relationship with Dawson and Heiss that resulted in Plaintiff consequently

incurring provable damages as asserted above.

                                      COUNT XIII

        Unauthorized Interception of Electronic Communications Under Subsection
(1)(a) of the Electronic Communications Privacy Act 18 U.S.C. § 2511 Asserted by
Plaintiff Against All Named Defendants

       311.    Plaintiff repeats and realleges every allegation set forth in Paragraphs 1

through 310 above.

       312.    Defendants intentionally intercepted all of the e-mails associated with the

RIOT ACT Domain Names when they unlawfully transferred ownership of the RIOT

ACT Domain Names, without Plaintiff’s consent or authorization, such that Defendants

exercised full control over all of the e-mail accounts associated with the RIOT ACT

Domain Names.

       313.    Defendants intentionally intercepted, viewed and downloaded e-mails

belonging to Plaintiff Xereas from the server which stored the RIOT ACT e-mail accounts

without Plaintiff’s permission, and with the knowledge that such interception was



                                            83
 Case 1:12-cv-00456-ZMF            Document 102      Filed 08/22/17     Page 84 of 104




unlawful and unauthorized.

        314.    Defendants also procured Squiid and other employees and agents of

Defendant Penn Social, LLC to intercept electronic communications associated with the

RIOT ACT Domain Names.

                                         COUNT XIV

        Unauthorized Disclosure of Electronic Communications Under Subsection
(1)(c) of the Electronic Communications Privacy Act 18 U.S.C. § 2511 Asserted by
Plaintiff Against All Named Defendants


        315.    Plaintiff repeats and realleges every allegation set forth in Paragraphs 1

through 314 above.

        316.    Defendants intentionally disclosed e-mails belonging to Plaintiff Xereas to

third parties when they forwarded those e-mails and/or the information contained therein

to those third parties while knowing that the information in those e-mails and the e-mails

themselves were obtained through the interception of an electronic communication in

violation of the statute cited herein.

        317.    Upon information and belief, Defendants intentionally disclosed and shared

e-mails belonging to Plaintiff Xereas to each other, to their legal counsel, and to certain

employees of the LLC, including but not limited to Peter Bayne, Evan Rosenthal, and

Vincent Coletti, while knowing that the information in those e-mails and the e-mails

themselves were obtained through the unlawful interception of an electronic

communication.

        318.    Defendants also procured Squiid and other employees and agents of the

LLC to forward electronic communications associated with the RIOT ACT Domain

Names.

                                            84
 Case 1:12-cv-00456-ZMF           Document 102       Filed 08/22/17     Page 85 of 104




                                      COUNT XV

       Unlawful Access to Stored Communications Under Subsection (a) of the
Stored Communications Act 18 U.S.C. § 2701 Asserted by Plaintiff Against All
Named Defendants


       319.    Plaintiff repeats and realleges every allegation set forth in Paragraphs 1

through 318 above.

       320.    Defendants engaged a third party, Linode, LLC, a virtual private service

provider that offers cloud-hosting services, and possibly engaged other third party

companies, to provide hosting services and storage on their servers. Upon information

and belief, the Defendants gave instructions to Linode and possibly other third party

hosting companies, to host the websites connected to the RIOT ACT Domain Names, and

to host and store all the e-mails sent to and sent from all e-mail accounts associated with

the RIOT ACT Domain Names. Upon information belief, Defendants engaged Linode

and possibly other third party hosting services to store Plaintiff’s databases of industry

contacts on their server, none of which Plaintiff authorized Defendants to take ownership

of or exert exclusive control over.

       321.    Defendants intentionally accessed, without authorization, a facility through

which an electronic communication service is provided or, in the alternative, intentionally

exceeded an authorization to access that facility and thereby prevented Plaintiff’s

authorized access to electronic communication (his e-mails) while it is in the electronic

storage in such system..

       322.    Linode’s cloud-hosting services, or other third party hosts engaged by

Defendants, are facilities through which an electronic communication service is provided.

       323.    Defendants accessed Plaintiff’s e-mails for the purpose of commercial

                                            85
 Case 1:12-cv-00456-ZMF           Document 102         Filed 08/22/17      Page 86 of 104




advantage and private commercial gain as Defendants’ access to the databases on the

server enabled Defendants to do business directly with Plaintiff’s contacts thereby

resulting in revenue to them and also specifically to Dawson as a result of him using said

databases for the financial benefit of other bar/restaurants he owns. Defendants also

derived a commercial advantage and private commercial gain by reading Plaintiff’s e-

mails to gain knowledge that would assist Defendants in defending this lawsuit and also

by depriving Plaintiff of the ability to read his e-mails so as to better prosecute this legal

action.

          324.   Plaintiff suffered financial damages, and lost opportunities to conduct

business, by being unable to communicate with potential customers, clients, entertainers

and others who attempted to contact Plaintiff through his RIOT ACT e-mail address.

          325.   Defendants knowingly and intentionally transferred ownership of the RIOT

ACT Domain Names and associated e-mail addresses to Defendants without Plaintiff’s

knowledge, consent or authorization and it was not until within a few days after January

28, 2012 that Plaintiff discovered this after he made inquiries as a result of Defendants

disabling his e-mail account. As such, Defendants knowingly and intentionally accessed

and downloaded Plaintiff’s stored electronic communications and e-mails from the server

housing such e-mails, despite knowing that such access and downloading was

unauthorized and unlawful.

          326.   Upon information and belief, Defendants also accessed and downloaded

Plaintiff’s e-mails by opening them through a web based e-mail account, without

authorization or permission, and with knowledge that such access and downloads were

unauthorized.



                                             86
 Case 1:12-cv-00456-ZMF           Document 102        Filed 08/22/17    Page 87 of 104




                                       COUNT XVI

       Misappropriation of Trade Secrets Under D.C. Uniform Trade Secrets Act -
 D.C. Code §§ 36-401 to 36-410 Asserted by Plaintiff Against All Named Defendants


       327.    Plaintiff repeats and realleges every allegation set forth in Paragraphs 1

through 326 above.

       328.    Plaintiff possessed trade secrets that he had spent just under two decades

developing while working, running and owning various comedy and entertainment

businesses in the Washington D.C. area. These trade secrets include Plaintiff’s social

media accounts and large database of over 12,000 contacts that he amassed over the years,

to the Defendants for the specific use and benefit of the Corporate Defendant

       329.    Defendants improperly and illegally transferred ownership of these social

media accounts and database of contacts by disabling Plaintiff’s ability to access same,

thereby depriving Plaintiff of his proprietary information.

       330.    Defendant Dawson has used the social media accounts and database of

contacts to inure to the benefit of other businesses he owns, namely by marketing and

promoting his businesses on the social media accounts that were intended to be used

solely by the Derivative Plaintiff and otherwise using the contacts Dawson amassed

through Plaintiff's database of contacts to benefit his other businesses. As a result of

Defendant Dawson’s self-dealing and improper use of Plaintiff’s trade secrets, Dawson

benefitted financially.

       331.    Plaintiff’s large database of contacts provides its users access to

entertainment industry contacts and contact information of individuals whose contact

information is not generally known and not readily ascertainable by another. Plaintiff had


                                             87
 Case 1:12-cv-00456-ZMF           Document 102        Filed 08/22/17      Page 88 of 104




been amassing his database of contacts for close to twenty years. Plaintiff’s social media

accounts link the user to some of these same individuals as well as an extensive list of

potential clients, customers, patrons and business associates with whom the user of the

social media accounts would be able to interact. Again, these contacts are not generally

known or readily ascertainable by another person and Plaintiff had been amassing the

contacts linked to the social media accounts since 2009.

       332.    The user of Plaintiff’s database and social media accounts would obtain

great economic value from its use as is evident from Defendants desire to obtain same

from Plaintiff and their use of the information they have obtained from these trade secrets

in order to run the business of the LLC.

       333.    Plaintiff has always used reasonable efforts to maintain the secrecy of his

database of contacts and social media accounts. The database of contacts was maintained

on the server of a close friend of the Plaintiff who works in the technology field and is

knowledgeable in encryption technology. Plaintiff had known this individual for almost

twenty years and his close friendship with the person coupled with his technology

expertise protected the secrecy of the database. The social media accounts were only

accessed by Plaintiff and he was the only one with the user names and passwords.

       334.    Plaintiff’s database of contacts and social media accounts constitute trade

secrets under § 36-401(4) of the D.C. Code.

       335.    Defendants clearly acquired Plaintiff’s trade secrets through improper

means as Defendants transferred ownership by disabling Plaintiff’s use of the social media

accounts and database of contacts thereby depriving Plaintiff of his legal right to his trade

secrets. Defendant Dawson also, personally, acquired the trade secrets through improper



                                              88
 Case 1:12-cv-00456-ZMF           Document 102         Filed 08/22/17      Page 89 of 104




means by inducing Plaintiff, in his capacity as Plaintiff’s business partner, to turn over the

database of contacts and social media accounts for the specific use of the LLC even

though Dawson intended to, and did, use Plaintiff’s trade secrets for his own financial

gain.

        336.   Defendant Dawson misappropriated Plaintiff’s trade secret when he

acquired said trade secrets for his personal use to inure to his financial benefit and the

financial benefit of the other businesses he owns when he clearly knew he acquired the

trade secrets through improper means as Plaintiff’s trade secrets were to be used only by

the LLC.

        337.   Dawson also misappropriated Plaintiff’s trade secrets when he used those

trade secrets while having knowledge that the trade secrets were acquired from Plaintiff

under circumstances giving rise to a duty to limit the use of the trade secrets such that the

trade secrets would only be used by the LLC.

                                       COUNT XVII

      Intentional Interference with Business Relations, Opportunities, Expectancy
and Prospective Economic Advantage Asserted by Plaintiff Under D.C. Common
Law Against All Defendants and Asserted by Derivative Plaintiff Against
Defendants Dawson and Heiss


        338.   Plaintiff and Derivative Plaintiff repeat and reallege every allegation set

forth in Paragraphs 1 through 337 above.

        339.   Defendants Dawson and Heiss both had knowledge of the business

relationships, opportunities and expectancy that Plaintiff Xereas had and continues to

have with numerous talent managers, agents, comics and other contacts in the comedy

and entertainment industry as a result of almost two decades in the comedy business.



                                             89
 Case 1:12-cv-00456-ZMF           Document 102        Filed 08/22/17      Page 90 of 104




       340.    Defendants acted intentionally to deprive Plaintiff of his ownership of the

RIOT ACT Domain Names, his access to his longstanding email address at

johnx@riotactcomedy.com, and access to his database of contacts thereby interfering

with Plaintiff’s ability to maintain such contacts and relationships, and continue doing

business with, these individuals in fulfillment of Plaintiff and Derivative Plaintiff’s

expectancy which was commercially reasonable to anticipate.

       341.    As a direct and proximate result of these malicious and intentional acts, as

described above, Plaintiff and Derivative Plaintiff’s industry reputation, and relationships

with current and prospective customers and industry contacts have been irreparably

damaged, resulting in damage to Plaintiff and/or Derivative Plaintiff’s economic interests.

       342.    But for the Defendant illegally seizing Plaintiff’s e-mail accounts, Plaintiff

would have been able to secure business opportunities for Derivative Plaintiff and/or for

Plaintiff directly thereby resulting in additional income to Derivative Plaintiff and income.

If Plaintiff had access to these e-mails he would have first attempted to secure the

engagements on behalf of Derivative Plaintiff or, in the alternative, for himself, in the

event Derivative Plaintiff was not interested in the engagements or Plaintiff wanted to

otherwise book the engagements on his own as he was entitled to do.

       343.    As a proximate result of Defendants illegal and improper actions whereby

they terminated Plaintiff and illegally seized the RIOT ACT Domain Names, associated e-

mail accounts and database of contacts, Defendants thereby prevented Plaintiff from

conducting business with individuals and entities with whom he had agreements, business

relationships and business expectancies. As a result of Defendants’ interference, many of

these business opportunities were lost and the relationships and expectancies terminated



                                             90
 Case 1:12-cv-00456-ZMF             Document 102         Filed 08/22/17      Page 91 of 104




thereby resulting in Plaintiff and Derivative Plaintiff suffering economic harm in the form

of lost income.

        344.      If not for Defendants’ interference, Plaintiff would have been able to start a

new business involving the hiring and booking of entertainers and comedians, which

would have been accomplished by using the RIOT ACT Trademark and Domain Names.

        345.      As a result of Defendant’s actions, Plaintiff and Derivative Plaintiff

suffered damages in the form of lost income for the dates on which engagements were

not able to be booked and Plaintiff also suffered other financial losses as a result of not

being able to promote, advertise and marker his booking services and company during

those lost engagements as he ordinarily would do.

                                        COUNT XVIII

      Unjust Enrichment under DC Common Law Asserted by Plaintiff and
Derivative Plaintiff Against All Named Defendants


        346.      Plaintiff and Derivative Plaintiff repeat and reallege every allegation set

forth in Paragraphs 1 through 345 above.

        347.      Defendants’ activities, as described above, have provided an immediate

market and commercial recognition for their services which they otherwise would not

have, and have resulted in unjust enrichment at Plaintiff’s expense.

        348.      Plaintiff and Derivative Plaintiff conferred benefits on the Defendants that

were retained by the Defendants and, under the circumstances, the Defendants retention of

the benefits is unjust.

        349.      As a direct and proximate result of the willful actions, conduct, and

practices of Defendants as alleged above, Plaintiff and Derivative Plaintiff has been



                                               91
 Case 1:12-cv-00456-ZMF           Document 102        Filed 08/22/17   Page 92 of 104




damaged and will continue to be irreparably harmed.

       350.    Plaintiff has provided his labor, time, expertise and extensive list of

contacts to the LLC, and the LLC has benefitted from such contributions.

       351.    Plaintiff has not been adequately compensated for such contributions to the

LLC.

                                       COUNT XIX

      Cybersquatting Under Section 43(d) of the Lanham Act, 15 U.S.C. S §
1125(d) Asserted by Plaintiff Against All Defendants


       352.    Plaintiff repeats and realleges every allegation set forth in Paragraph 1

through 351 above.

       353.    Defendants caused to be registered, registered, and/or used the RIOT ACT

Domain Names with a bad-faith intent to profit from Plaintiff’s RIOT ACT Trademarks.

       354.    Plaintiff’s RIOT ACT Trademarks were distinctive and had acquired

secondary meaning at the time Defendants caused to be registered, registered, and/or used

the RIOT ACT Domain Names.

       355.    The RIOT ACT Domain Names are identical and/or confusingly similar to

Plaintiff’s RIOT ACT Trademarks.

       356.    Plaintiff has been harmed and suffered financial damages by Defendants’

acts of cyber-squatting as alleged herein.

                                       COUNT XX
      Intentional Infliction of Emotional Distress Asserted by Plaintiff Against
Defendants Heiss and Dawson

       357.    Plaintiff repeats and realleges every allegation set forth in Paragraphs 1

through 356 above.


                                             92
 Case 1:12-cv-00456-ZMF           Document 102        Filed 08/22/17    Page 93 of 104




       358.    Defendants Dawson and Heiss committed acts, as pled above, which

constitute extreme and outrageous conduct and did so intentionally or, in the alternative,

recklessly, causing Plaintiff severe emotional distress.

       359.    The actions taken by Dawson and Heiss that led to Plaintiff’s emotional

distress exceed all bounds of decency and can fairly be regarded as atrocious and utterly

intolerable in a civilized community.

       360.    As a result of Defendants’ acts, Plaintiff has suffered severe emotional

distress leading to harmful physical consequences and stress related medical conditions

including headaches, stomach issues, a skin condition and an stomach ulcer that required

medical treatment.

                                           COUNT XXI

       Breach of Fiduciary Duty of Loyalty and Care Under § 29–804.09 of the DC
Code and DC Common Law, or in the alternative, under D.C. Code § 29-1043
(2011), Asserted by Plaintiff and Derivative Plaintiff Against Defendants Dawson
and Heiss

       361.    Plaintiff and Derivative Plaintiff repeat and reallege every allegation set

forth in Paragraphs 1 through 360 above.

       362.    In accordance with the law of the District of Columbia statutes (D.C. Code

§ 29-804.09) and District of Columbia common law, members of an LLC owe fiduciary

duties to both the LLC and to the other members.

       363.    Defendants Heiss and Dawson owed Plaintiff Xereas, as a member of the

LLC, a fiduciary duty of loyalty and care.

       364.    Defendants Heiss and Dawson owed Derivative Plaintiff a fiduciary duty

of loyalty and care.

       365.    Defendants Heiss and Dawson failed to act with the care that a person in a

                                             93
 Case 1:12-cv-00456-ZMF           Document 102         Filed 08/22/17    Page 94 of 104




like position would reasonably exercise under similar circumstances and in a manner that

Defendants Heiss and Dawson reasonably believed to be in the best interests of Plaintiff

and Derivative Plaintiff.

       366.    Many of Heiss and Dawson’s actions as pled herein constitute willful and

intentional misconduct and knowing violations of D.C. law, federal law and common law

as pled herein. In the alternative, such actions constituted gross negligence and/or

reckless conduct.

        367. Defendants breached their duty of loyalty to Plaintiff when they failed to

 disclose all material facts concerning the business as well as all facts involving

 membership interests in the LLC.

        368. Defendants breached their duty to provide an accounting to Plaintiff, and

 to give him access to corporate records.

       369.    Defendants Heiss and Dawson breached their fiduciary duty of loyalty and

care as a result of all of the misconduct alleged herein.

       370.    Defendants Heiss and Dawson’s breach of their fiduciary duty of loyalty

and care proximately caused injury to the Derivative Plaintiff and Plaintiff as pled herein

       371.    Defendant Heiss breached her fiduciary duty of care to Plaintiff and

Derivative Plaintiff and acted negligently when she violated the D.C. Rules of

Professional Conduct as specifically pled herein.

       372.    Defendants breached their fiduciary duties of care and loyalty by taking

actions that constitute negligence as specifically pleaded herein.

       373.    Defendants Heiss and Dawson’s breaches of fiduciary duties proximately

caused injury and damages to both Derivative Plaintiff and Plaintiff Xereas, including but



                                             94
 Case 1:12-cv-00456-ZMF           Document 102       Filed 08/22/17      Page 95 of 104




not limited to lost profits, lost business opportunities, waste of Derivative Plaintiff’s

assets, and diminishment of value of Xereas’s holdings (and other investors’ holdings) in

the Derivative Plaintiff.

       374.    A demand that Riot Act, LLC would bring this derivative action would be

futile, because Defendants Dawson and Heiss control the business decisions of Riot Act,

LLC, and Defendants Dawson and Heiss would not initiate a lawsuit against themselves.

                                       COUNT XXII

      Action For Accounting Under D.C. Common Law Asserted By Plaintiff And
Derivative Plaintiff Against Defendant Penn Social, LLC, Dawson and Heiss

       375.    Plaintiff and Derivative Plaintiff repeat and reallege every allegation set

forth in Paragraphs 1 through 374 above.

       376.    A fiduciary relationship exists between Plaintiff and the LLC, and

Defendants Dawson and Heiss.

       377.    A fiduciary relationship exists between Derivative Plaintiff and the LLC,

and Defendants Dawson and Heiss.

       378.    Defendants Penn Social, LLC, Dawson and Heiss, in their fiduciary

capacity, received, deposited, managed, distributed, paid and accounted for funds on

behalf of Plaintiff and Derivative Plaintiff.

       379.    Defendants Penn Social, LLC, Dawson and Heiss has a legal obligation to

account to Plaintiff and Derivative Plaintiff under DC Common Law, the Operating

Agreements, D.C. Code § 29–804.10 (or, in the alternative, D.C. Code § 29-1022

(2011)). As a result of all of the wrongful acts pled in this Second Amended Complaint,

it is appropriate for Plaintiff and Derivative Plaintiff to receive a complete accounting as

both Plaintiff and Derivative Plaintiff has suffered economic losses that cannot be

                                                95
 Case 1:12-cv-00456-ZMF          Document 102        Filed 08/22/17     Page 96 of 104




determined without an accounting.

        380.   Plaintiff also has a right to review and copy all business records under DC

Common Law and the Operating Agreements, but has been denied such an opportunity.

        381.   Plaintiff has requested an accounting and requested access to corporate

records of the LLC, but all such requests have been denied or ignored by Defendants.

                                     COUNT XXIII

      Action for Quantum Meruit Under D.C. Common Law Asserted by Plaintiff
Against Defendant Penn Social, LLC


        382.   Plaintiff repeats and realleges every allegation set forth in Paragraphs 1

through 381 above.

        383.   Plaintiff rendered valuable services to the LLC in his role as General

Manager, working tirelessly and often working 20 hour days and sleeping at the Venue.

        384.   The services provided by Plaintiff were accepted, used, and enjoyed by the

LLC under circumstances that reasonably notified the LLC that Plaintiff expected to be

paid.

        385.   Plaintiff was not adequately paid for the services he rendered to the LLC.

                                     COUNT XXIV

      Violation of § 29–804.10 of the D.C. Code, or in the alternative, D.C. Code §
29-1022 (2011), Asserted by Plaintiff Against All Defendants

        386.   Plaintiff repeats and realleges every allegation set forth in Paragraphs 1

through 385 above.

        387. Despite repeated requests and demands from Plaintiff and Plaintiff’s

 Counsel that Defendants provide specific documents, Defendants have failed to provide

 the documents requested and continue to do so.

                                            96
Case 1:12-cv-00456-ZMF             Document 102     Filed 08/22/17      Page 97 of 104




       388. Despite the provisions of § 29–804.10 of the D.C. Code, Defendants have

failed to provide the documents that they are required to provide to Plaintiff as a matter

of law and without his request.

                                      COUNT XXV

        Violation of RICO, 18 U.S.C. § 1962 Asserted by Plaintiff and Derivative
Plaintiff Against All Defendants


       389. Plaintiff repeats and realleges every allegation set forth in Paragraphs 1

through 388 above.

       390. Defendants formed an enterprise-in-fact by the creation of the LLC.

Defendants have extracted profits and other funds from the LLC. Defendants were

managing members, members and otherwise participated in the conduct and business of

the LLC and exerted control of the day-to-day operations of the LLC by virtue of their

majority voting power.

       391. Defendants have engaged in racketeering activity through 1) the theft of

Plaintiff’s trademarks and domain names; 2) the misappropriation of Plaintiff’s funds and

the LLC’s assets for their own personal use, for the use and benefit of other businesses

owned by Defendant Dawson, and other improper uses; 3) unauthorized interception and

disclosure of Plaintiff’s e-mails to third parties; 4) unauthorized access of stored

communications; 5) acts of fraudulent inducement in order to get Plaintiff and other

investors to make capital contributions to the LLC; and 6) other activities alleged herein.

Upon information and belief, Defendants have also utilized the mail and electronic

communications to further their scheme to improperly use and misappropriate the assets

of the LLC, as described herein.



                                           97
Case 1:12-cv-00456-ZMF          Document 102         Filed 08/22/17      Page 98 of 104




       392. All of these activities happened in close proximity to one another and

constituted a pattern of racketeering activity.    Such predicate acts were related and

continuous to one another, and also committed within a ten-year period. These acts also

demonstrate that Defendants pose a threat of continued criminal activity.

       393. A total of 24 investors, in addition to Plaintiff, have made investments in

the LLC, and each of them made investments after having seen the Offering

Memorandum and Business Plan prepared by Dawson and Heiss.

       394. All investors, including Plaintiff, have suffered diminution in value of their

investment and interests in the LLC as a result of Defendants’ racketeering activities.

       395. Plaintiff and Derivative Plaintiff were a target of Defendants’ Conduct.

                                      COUNT XXVI

      Civil Conspiracy under DC Common Law, Asserted by Plaintiff and
Derivative Plaintiff Against All Defendants

       396. Plaintiff and Derivative Plaintiff repeat and reallege every allegation set

forth in Paragraphs 1 through 395 above.

       397. Defendants Dawson and Heiss have agreed to participate in conspiracies to

engage in the following unlawful acts, or lawful acts in an unlawful manner, against

Defendants as it relates to the following Counts as pled herein:

              1) Federal Infringement of an Unregistered Trademark

              2) Federal Unfair Competition

              3) Common Law Trademark Infringement

              4) Conversion

              5) Breach of Contract

              6) Fraudulent Misrepresentation

                                            98
 Case 1:12-cv-00456-ZMF           Document 102         Filed 08/22/17   Page 99 of 104




               7) Constructive Fraud

               8) Unauthorized Interception of Electronic Communications under 18

               U.S.C. §2511(1)(a).

               9) Unauthorized Disclosure of Electronic Communications under 18

               U.S.C. §2511(1)(b).

               10) Unlawful access to Stored Communications under 18 U.S.C. §2701.

               11) Misappropriation of Trade Secrets

               12) International Interference with Business Relations, Opportunities,

               Expectancy and Prospective Economic Advantage

               13) Unjust Enrichment

               14) Cybersquatting under 15 U.S.C. 1125(d)

               15) Breach of Fiduciary Duty of Loyalty and Care

               16) Breach of Duty of Good Faith and Fair Dealing

               17) Violation of § 29–804.10 of the D.C. Code

               18) Violation of RICO, 18 U.S.C. § 1962

        398. Defendants Dawson and Heiss have committed unlawful overt acts in

 furtherance of the above acts, as alleged herein.

        399. The unlawful overt acts committed by Defendants Dawson and Heiss as

 alleged herein have resulted in injuries to both Plaintiff and Derivative Plaintiff, in

 furtherance of the common scheme as alleged herein.

                               JURY TRIAL DEMANDED

       Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby

demands a trial by jury on any issue triable of right by a jury.



                                             99
Case 1:12-cv-00456-ZMF             Document 102       Filed 08/22/17   Page 100 of 104




                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Xereas and Derivative Plaintiff Penn Social, LLC prays

that this Court enter judgment in his favor on each and every count set forth above, and

award it relief including, but not limited, the following:

       A.      An Order declaring that Defendants’ use of the RIOT ACT Trademarks

and RIOT ACT Domain Names infringed on Plaintiff’s RIOT ACT Trademarks and

constitutes unfair competition under federal and/or common law, as detailed above;

       B.      A preliminary and permanent injunction enjoining Defendants Dawson,

Heiss, Penn Social, LLC, and their respective employees, agents, officers, directors,

members, shareholders, subsidiaries, related companies, affiliates, and all persons in

active concert or participation with any of them from:

               (1)      Using any of the e-mails associated with the RIOT ACT Domain

       Names.

               (2)      From representing by any means whatsoever, directly or

       indirectly, that Defendants, any products or services offered by Defendants, or any

       activities undertaken by Defendants, are associated or connected in any way, or

       sponsored by, affiliated or connected with Plaintiff or his various RIOT ACT

       businesses.

               (3)      From engaging in libelous or defamatory communications with

       any third party regarding Plaintiff Xereas, members of his family, his business

       activities, or otherwise.

               (4)      Requiring Defendants to change any trade name, and designations

       and materials reflecting any corporate name, trade name, or business name,


                                             100
Case 1:12-cv-00456-ZMF            Document 102        Filed 08/22/17     Page 101 of 104




       including telephone listings, certificates of occupancies, business licenses,

       corporate documents, DCRA filings and liquor licenses so as to eliminate any and

       all use of the RIOT ACT trademark and name, or any name or mark confusingly

       similar thereto.

               (5)        Directing Defendants to cease using all social media accounts that

       were previously used, run and controlled by Plaintiff;

       C.      An Order directing Defendants to provide Plaintiff with data files of all e-

mails received and sent from the e-mail accounts associated with the RIOT ACT Domain

Names, including e-mails stored on a third party’s cloud based server, from the time that

Defendants seized said e-mail accounts through September 9, 2014 which is the day

Plaintiff resumed custody, control and access to the e-mail accounts.

       D.      An Order directing Defendants to provide Plaintiff with electronic files

containing the approximately 12,000 e-mail addresses that he provided to Defendants.

       E.      An Order for Defendants to provide Plaintiff with a full and complete

accounting of Defendant Penn Social, LLC that includes all documents Plaintiff has

previously requested and is entitled to pursuant to the parties’ Operating Agreement, DC

Common Law, and D.C. Code § 29–804.10 (or, in the alternative, D.C. Code § 29-1022

(2011)).

       F.      An Order directing Defendants to file with this Court and serve on

Plaintiff’s attorneys, thirty (30) days after the entry of any permanent injunction, a report

in writing and under oath setting forth in detail the manner and form in which they have

complied with the injunction.

       G.      An Order requiring Defendants to pay Plaintiff and Derivative Plaintiff



                                             101
Case 1:12-cv-00456-ZMF            Document 102         Filed 08/22/17   Page 102 of 104




compensatory damages and punitive damages in an amount as yet undetermined for each

of the above stated Counts;

       H.      An Order requiring Defendants to pay Plaintiff whichever is greater of (i)

actual damages suffered by Plaintiff plus profits made by Defendants as a result of

Defendants unauthorized interception of electronic communications or (ii) statutory

damages to be calculated at the rate of $100 per day for each day of violation or $10,000,

whichever is greater as well as punitive damages, reasonable attorney’s fees and

litigation costs, pursuant to 18 U.S.C. § 2520;

       I.      An Order requiring Defendants to pay Plaintiff actual damages, profits

made by the Defendants, punitive damages, reasonable attorney’s fees and costs of this

action, pursuant to 18 U.S.C. § 2707;

       J.      An Order requiring Defendants to pay Plaintiff restitution and

compensatory damages in quantum meirut;

       K.      An Order requiring Defendants to pay damages and compensation for pain

and suffering as a result of Plaintiff’s emotional distress;

       L.      An Order requiring Defendants to pay Plaintiff compensatory damages and

lost profits in an amount as yet undetermined caused by the foregoing unlawful acts, and

trebling such damages in accordance with 15 U.S.C. § 1117 and other applicable laws;

       M.      An Order requiring Defendants to pay statutory damages under 15 U.S.C.

§ 1117(d), on election by Plaintiff, in an amount of One Hundred Thousand dollars

($100,000) for each RIOT ACT Domain Name and other domain names previously

owned by Plaintiff that Defendants registered, assumed possession and control over

and/or used without Plaintiff’s permission.



                                              102
Case 1:12-cv-00456-ZMF            Document 102        Filed 08/22/17     Page 103 of 104




       N.      An Order requiring Defendants to pay Plaintiff punitive damages in an

amount as yet undetermined cause by the foregoing unlawful acts of Defendants.

       O.      An Order requiring Defendants to pay Plaintiff’s costs and attorneys’ fees

in this action pursuant to 15 U.S.C. § 1117 and other applicable laws.

       P.      An Order requiring Defendants to pay Plaintiff _(i) actual damages caused

by the misappropriation of Plaintiff’s trade secrets and for unjust enrichment caused by the

misappropriation that is not taken into account in computing actual loss or a reasonable

royalty for the unauthorized use of Plaintiff’s trade secret, exemplary damages in an

amount not to exceed twice the award made under § 36-403 of the D.C. Code., and

reasonable attorney’s fees pursuant to § 36-403 of the D.C. Code;

       Q.      An Order requiring Defendants to give Plaintiff all usernames, passwords

and information related to social media accounts previously controlled, used and operated

by Plaintiff, such that Plaintiff can resume use, custody and control of the social media

accounts.

       R.      An Order requiring Defendant Dawson and Defendant Heiss to pay

compensatory and punitive damages, and restitution, directly to Penn Social, LLC as a

result of their violation of the above stated Counts, including Intentional Interference with

Business Relations, Breach of the Fiduciary Duty of Loyalty and Care, Conversion,

Breach of Contract, Breach of the Covenant of Good and Fair Dealing, and Unjust

Enrichment, as it relates to Derivative Plaintiff’s claims;

       S.      An Order piercing the corporate veil and holding Defendants Dawson and

Heiss personally liable for the acts of Penn Social, LCC as a result of their fraudulent,

dishonest, reckless and wrongful actions;



                                             103
Case 1:12-cv-00456-ZMF          Document 102        Filed 08/22/17       Page 104 of 104




       T.      An Order requiring Defendant Dawson and Defendant Heiss to pay

reasonable expenses, including reasonable attorney’s fees and costs, for the derivative

claims made herein pursuant to D.C. Code § 29-808.06, or in the alternative, pursuant to

D.C. Code § 29-1046; and

       U.      An Order directing Defendants Heiss and Dawson to refund Derivative

Plaintiff all monies paid by Derivative Plaintiff to indemnify them in this cause of action

pursuant to   Section 7.1 of the LLC Operating Agreement and D.C. Code §§ 29–

804.08(c), 29–804.08(a) and § 29-804.09; and

       V.      Such other and further relief as the Court may deem appropriate.




       Dated: October 1, 2015                  Respectfully submitted,

                                               /s/ W. Todd Miller
                                               W. Todd Miller (D.C. Bar No. 414930)
                                               tmiller@bakerandmiller.com
                                               BAKER & MILLER PLLC
                                               2401 Pennsylvania Avenue, NW
                                               Suite 300
                                               Washington, DC 20037
                                               Telephone: 202.663.7820
                                               Fax: 202.663.7849

                                               Tony C. Richa
                                               richa@richalawgroup.com
                                               Richa Law Group, LLC
                                               One Bethesda Center
                                               4800 Hampden Lane, Suite 200
                                               Bethesda, MD 20814
                                               Telephone: 301-424-0222
                                               Facsimile: 301-576-8600

                                               Attorneys for Plaintiff John N. Xereas



                                           104
